               Case 19-50210            Doc 1               Filed 02/20/19           Entered 02/20/19 16:12:57                       Page 1 of 62
Fill in this information to identify your case :

United States Bankruptcy Court for the:
                      District Of Connecticut

 Case number (If known):                           Chapter you are filing under:
                           - - - - - - - - - - - - 0 Chapter 7
                                                                      0 Chapter 11
                                                                      0 Chapter 12                                                   0   Check if this is an
                                                                      0 Chapter 13                                                       amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.


f §fl          Identify Yourself

                                        About Debtor 1 :                                               About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name
      Write the name that is on your
      government-issued picture         Charles
                                        First name                                                     First name
      identification (for example,
      your driver's license or          N.
      passport).                        Middle name                                                    Middle name
      Bring your picture                Edwards
      identification to your meeting    Last name                                                      Last name
      with the trustee.
                                        Suffix (Sr., Jr., II , 111)                                     Suffix (Sr., Jr., II, Ill)




 2.   All other names you
      have used in the last 8           First name                                                      First name
      years
      Include your married or           Middle name                                                     Middle name
      maiden names.
                                        Last name                                                       Last name


                                        First name                                                      First name

                                        Middle name                                                     Middle name

                                        Last name                                                       Last name




 3. Only the last 4 digits of
    your Social Security                xxx            xx    -   3
                                                                 -      0
                                                                   - -- - - --                          xxx           xx    -
                                                                                                                                --    -- -- --
    number or federal                   OR                                                              OR
    Individual Taxpayer
    Identification number               9 xx -         xx        -- --           -- --                  9 xx     -    xx        -- --        --    --
      (ITIN)

 Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                     page 1
                    Case 19-50210                 Doc 1            Filed 02/20/19             Entered 02/20/19 16:12:57                            Page 2 of 62
                                                                                                                Case number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     Charles N . Edwards
Debtor 1                          Middle Name               Last Name
                     First Name




                                                                                                                     About Debtor 2 (Spouse Only in a Joint Case):
                                                About Debtor 1:


\ 4.        Any business names                  !Zl   I have not used any business names or EINs.
                                                                                                                     0    I have not used any business names or EINs.
            and Employer
            Identification Numbers
            (EIN) you have used in
                                                                                                                      Business name
            the last 8 years                    Business name

            Include trade names and
            doing business as names              Business name                                                        Business name




                                                 EIN                                                                  EIN



                                                 EIN                                                                  EIN




   s. Where you live                                                                                                   If Debtor 2 lives at a different address:



                                                 111 Bible Street
                                                 Number      Street                                                    Number            Street




                                                 Cos Cob                                    CT       06807
                                                 City                                       State   ZIP Code           City                                        State   ZIP Code

                                                 FAIRFIELD
                                                 County                                                                  County

                                                  If your mailing address is different from the one                      If Debtor 2's mailing address is different from
                                                  above, fill it in here. Note that the court will send                  yours, fill it in here. Note that the court will send
                                                  any notices to you at this mailing address.                            any notices to this mailing address.



                                                  Number           Street                                                Number          Street


                                                  P.O. Box                                                               P.O. Box


                                                  City                                      State    ZIP Code            City                                      State   ZIP Code




       6.    Why you are choosing                 Check one:                                                             Check one:
             this district to file for
             bankruptcy
                                                  !Zl    Over the last 180 days before filing this petition ,            0      Over the last 180 days before filing this petition,
                                                         I have lived in this district longer than in any                       I have lived in this district longer than in any
                                                         other district.                                                        other district.

                                                  0      I have another reason . Explain.                                0      I have another reason . Explain.
                                                         (See 28 U.S.C. § 1408.)                                                (See 28 U.S.C. § 1408.)




            Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                               page 2
               Case 19-50210                 Doc 1              Filed 02/20/19           Entered 02/20/19 16:12:57                    Page 3 of 62
                                                                                                         Case number (if known)' - - - - - - - - - - - - - -
Debtor 1         Charles N. Edwards
                             Middle Nam e                Last Name
                First Name




                                            Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § ~42(b) for Individuals Filing
1.     The chapter of the                   for Bankruptcy (Form 2010)). Also , go to the top of page 1 and check the appropnate box.
       Bankruptcy Code you
       are choosing to file                 0 Chapter 7
       under
                                            D    Chapter 11

                                            D    Chapter 12

                                            D    Chapter 13


  s. How you will pay the fee               0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash , cashier's check, or money order. If your attorney is
                                                 submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address.

                                             D I need to pay the fee in installments . If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             D I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option , you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


  9.    Have you filed for                   0   No
        bankruptcy within the
        last 8 years?                        D   Yes. District                                    When                     Case number
                                                                                                         MM / DD /YYYY
                                                            District                              When                     Case number
                                                                                                         MM / DD /YYYY
                                                            Distri ct                             When                     Case number
                                                                                                          MM I DD / YYYY



  10.   Are any bankruptcy                   0   No
        cases pending or being
        filed by a spouse who is             D   Yes.       Debtor - - - - - - - - - - - - - - - - - - R e l a t i o n s h i p to you
        not filing this case with                           Distri ct _ _ _ _ _ _ _ _ _ _ When                             Case number, if known _ _ _ _ _ __
        you, or by a business                                                                             MM I DD /YYYY
        partner, or by an
        affiliate?
                                                            Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you

                                                            District _ _ _ _ _ _ _ _ _ _ When             _ _ _ _ _ _ Case number, if known _ _ _ _ _ __
                                                                                                          MM / DD / YYYY



  11.   Do you rent your                     lE:.I No.Go to line 12.
        residence?                           D   Yes. Has your landlord obtained an eviction judgment against you?

                                                            D     No. Go to line 12.
                                                            D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                 part of this bankruptcy petition .




       Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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                                                                                                        Case number (ifknownll_ _ _ _ _ _ _ _ _ _ _ _ _ __

Debtor 1
              Charles N. Edwards
                             Middle Name               Last Name
              First Name




            Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor              0   No. Go to Part 4.
     of any full- or part-time
     business?
                                           0   Yes. Name and location of business

     A sole proprietorship is a
     business you operate as an                        Name of business , if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership, or                       Number      Street
     LLC.
      If you have more than one
      sole proprietorship , use a
      separate sheet and attach it
      to this petition .                                   City                                                    State         ZIP Code



                                                          Check the appropriate box to describe your business:
                                                          0    Health Care Business (as defined in 11 U.S.C. § 101 (27 A))
                                                          0    Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                          0    Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                          0    Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                          0    None of the above


  13. Are you filing under                 If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                    can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                  most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
      are you a small business
      debtor?
                                           0       No. I am not filing under Chapter 11 .
      For a definition of small
      business debtor, see                 0       No. I am filing under Chapter 11 , but I am NOT a small business debtor according to the definition in
      11 u.s.c. § 101 (510).                           the Bankruptcy Code.

                                           0       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                        Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any                   0No
      property that poses or is
      alleged to pose a threat                 0   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                              If immediate attention is needed , why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                              Where is the property? .,..,----,-------=-----------------------
                                                                                     Number         Street




                                                                                     City                                             State   ZIP Code


    Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
             Case 19-50210                   Doc 1            Filed 02/20/19             Entered 02/20/19 16:12:57                       Page 5 of 62
                                                                                                          Case number (ffknown)I_ _ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1       Charles N. Edwards
                             Mi ddle Name              l ast Name
              First Name




            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                                About Debtor 2 (Spouse Only in a Joint Case):
                                            About Debtor 1 :
1s. Tell the court whether
    you have received a                                                                                         You must check one:
                                            You must check one:
    briefing about credit
    counseling.                             \!l   I received a briefing from an approved credit                 0    I received a briefing from an approved credit
                                                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
     The law requires that you                    filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
     receive a briefing about credit               certificate of completion.                                         certificate of completion.
     counseling before you file for               Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
     bankruptcy. You must                         plan , if any, that you developed with the agency.                 plan , if any, that you developed with the agency.
     truthfully check one of the
     following choices. If you               0    I received a briefing from an approved credit                  0   I received a briefing from an approved credit
     cannot do so, you are not                    counseling agency within the 180 days before I                     counseling agency within the 180 days before I
     eligible to file.                            filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                  certificate of completion.                                         certificate of completion.
      If you file anyway, the court               Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition ,
      can dismiss your case, you                  you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee               plan, if any.                                                      plan, if any.
      you paid , and your creditors
      can begin collection activities        0    I certify that I asked for credit counseling                   0   I certify that I asked for credit counseling
      again .                                     services from an approved agency, but was                          services from an approved agency, but was
                                                  unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                  days after I made my request, and exigent                          days after I made my request, and exigent
                                                  circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                  of the requirement.                                                of the requirement.

                                                  To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                  requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                  what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                  you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                  bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                  required you to file this case.                                     required you to file this case.

                                                   Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                   dissatisfied with your reasons for not receiving a '               dissatisfied with your reasons for not receiving a
                                                   briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                   If the court is satisfied with your reasons , you must             If the court is satisfied with your reasons, you must
                                                   still receive a briefing within 30 days after you file .           still receive a briefing within 30 days after you file .
                                                   You must file a certificate from the approved                      You must file a certificate from the approved
                                                   agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                   developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                   may be dismissed .                                                 may be dismissed .
                                                   Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                   only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                   days.                                                              days.

                                             0     I am not required to receive a briefing about                 0    I am not required to receive a briefing about
                                                   credit counseling because of:                                      credit counseling because of:

                                                   D   Incapacity.    I have a mental illness or a mental             D   Incapacity.    I have a mental illness or a mental
                                                                      deficiency that makes me                                           deficiency that makes me
                                                                      incapable of realizing or making                                   incapable of realizing or making
                                                                      rational decisions about finances .                                rational decisions about finances .
                                                   0   Disability.    My physical disability causes me                0   Disability.    My physical disability causes me
                                                                      to be unable to participate in a                                   to be unable to participate in a
                                                                      briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                      through the internet, even after I                                 through the internet, even after I
                                                                      reasonably tried to do so.                                         reasonably tried to do so.
                                                   D   Active duty. I am currently on active military                 0   Active duty. I am currently on active military
                                                                    duty in a military combat zone.                                    duty in a military combat zone.
                                                   If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                   briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                   motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
            Case 19-50210                 Doc 1         Filed 02/20/19                    Entered 02/20/19 16:12:57                  Page 6 of 62
               Charles N. Edwards                                                                        Case number (ff known)•- - - - - - - - - - - - - -
Debtor 1                                           Last Name
              First Name   Middle Name




            Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined i~. 11U.S.C. §101(8)
1s. What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose.
       you have?
                                              D    No. Go to line 16b.
                                              0    Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.

                                               D   No . Go to line 16c.
                                               D   Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts .



 11. Are you filing under
       Chapter 7?                        D    No . I am not filing under Chapter 7. Go to line 18.

       Do you estimate that after        0    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
       any exempt property is                      administrative expenses are paid that funds will be available to distribute to unsecured creditors?
       excluded and                                0    No
       administrative expenses
       are paid that funds will be                 D    Yes
       available for distribution
       to unsecured creditors?

 18.   How many creditors do             0    1-49                                      D    1,000-5,ooo                        D 25,001-50,000
       you estimate that you             D    50-99                                     D    5,001-10.000                       D 50,001 -100.000
       owe?                              D    100-199                                   D    10.001-25,ooo                      D More than 100,000
                                         D    200-999

 19. How much do you                      D   $0-$50.000                                 0   $1 ,000,001-$10 million            D   $500,000,001-$1 billion
       estimate your assets to            D   $50,001-$100,000                           D   $10,000,001-$50 million            D   $1 ,000,000,001-$10 billion
       be worth?                          D   $100,001-$500,000                          0   $50,000,001-$100 million           D   $10,000,000,001-$50 billion
                                          D   $500,001-$1 million                        D   $100,000,001-$500 million          D   More than $50 billion

 20. How much do you                      D   $0-$50,000                                 0   $1 ,000,001-$10 million            D   $500,000,001-$1 billion
       estimate your liabilities          D   $50,001-$100,000                           D   $10,000,001-$50 million            D   $1,000,000,001-$10 billion
       to be?                             D   $100,001-$500,000                          D   $50,000,001-$100 million           D   $10,000,000,001-$50 billion
                                          D   $500,001-$1 million                        D   $100,000,001-$500 million          D More than $50 billion
i@fl          Sign Below

                                         I have examined this petition, and I declare under penalty of pe~ury that the information provided is true and
  For you .                              correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                          of title 11 , United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250.:_59r imprisonment for up to 20 years, or both .



                                          ~" rn~1crw~ JC _____________
                                              Signature of Debtor 1                                               Signature of Debtor 2

                                              Executed on      -'{=---T'-=--=----i!--1'
                                                                   )                   ·'-"'-I q                  Executed on
                                                                MM    fl DD                                                     MM I DD    /YYYY


   Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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              Charles N. Edwards                                                                   Case number !if known ),_ _ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
             First Name   Middle Name              Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11 , United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and , in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge         .an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        x                                                                   Date
                                            Signature of Attorney for Debtor                                                MM       DD / YYYY




                                            Mark M. Kratter
                                            Printed name

                                            Law Offices of Mark M. Kratter, LLC
                                            Firm name

                                            71 East Avenue , Suite K
                                            Number Street




                                            =
                                            N~o~rw~a
                                                   ~l~k_ _ _ __        _ _ _ __ _ _ _ _ _ _ _ ~C~T--~ 06851
                                            City                                              State   ""z"°1Pc=C.:=-o-'-d,-e_ _ _ _ _ _ _ __




                                            Contact phone (203) 853-2312                                    Email address   laws4ct@aol.com



                                            ct13005                                                         CT
                                            Bar number                                                      State




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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Fill in this information to identify your case and this filing :


Debtor 1          Charles                 N.                          Edwards
                     First Name                   Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                  Last Name


United States Bankruptcy Court for the:      District of Connecticut
Case number
                                                                                                                                              D   Check if this is an
                                                                                                                                                  amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    D     No. Go to Part 2.
    0     Yes. Where is the property?
                                                                       What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                       CEI    Single-family home                         the amount of any secured claims on Schedule D:
      1.1 .    111 Bible Street                                        D      Duplex or multi-unit building
                                                                                                                         Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                       D      Condominium or cooperative                 Current value of the     Current value of the
                                                                       D      Manufactured or mobile home                entire property?         portion you own?
                                                                       0      Land                                       $ 1,300,000.00           $   1,300,000.00
                                                                       0      Investment property
              Cos Cob             CT                    06807
              City                             State     ZIP Code
                                                                       D      Timeshare                                  Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                       D      Other
                                                                                      -------------~                     the entireties, or a life estate). if known .
                                                                       Who has an interest in the property? Check one.
                                                                                                                         Joint Tenancy with Right of Survivorship
               Fairfield                                               0     Debtor 1 only
              County                                                   0     Debtor 2 only
                                                                       D     Debtor 1 and Debtor 2 only                  D   Check if this is community property
                                                                                                                             (see instructions)
                                                                       0     At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number: - - - - - - - - - - - - - - -
    If you own or have more than one, list here:
                                                                      What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                      0      Single-family home                          the amount of any secured claims on Schedule D:
      1.2.                                                                                                               Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description
                                                                      D      Duplex or multi-unit building
                                                                      0      Condominium or cooperative                  Current value of the     Current value of the
                                                                      D      Manufactured or mobile home                 entire property?         portion you own?
                                                                      D      Land                                        $_ _ _ _ _ __            $_ _ _ _ _ __
                                                                      0      Investment property
                                                                      0      Timeshare                                   Describe the nature of your ownership
              City                             State     ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                      D      Other
                                                                                     -------------~                      the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      0    Debtor 1 only
              County                                                  0    Debtor 2 only
                                                                      D    Debtor 1 and Debtor 2 only                    D   Check if this is community property
                                                                      D    At least one of the debtors and another           (see instructions)

                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number: - - - - - - - - - - - - - -


   Official Form 106A/B                                                Schedule A/B: Property                                                             page 1
 Debtor 1             Charles
                    Case           N.
                              19-50210              Edwards
                                               Doc 1Last  Filed 02/20/19                                   Entered 02/20/19   16:12:57
                                                                                                                     Case number (ii known),_ _ _ _Page
                                                                                                                                                   ____ 9 _of_62
                                                                                                                                                              _ _ __ __
                     First Name    Middle Name           Name




                                                                               What is the property? Check all that apply.                               Do not deduct secured claims or exemptions. Put
                                                                                D    Single-family home                                                  the amount of any secured claims on Schedule 0 :
       1.3.                                                                                                                                              Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description               D    Duplex or multi-unit building
                                                                                D    Condominium or cooperative                                          Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
                                                                                D    Manufactured or mobile home
                                                                                D    Land
                                                                                D    Investment property
                                                                                                                                                         Describe the nature of your ownership
               City                                State        ZIP Code        D    Timeshare
                                                                                                                                                         interest (such as fee simple, tenancy by
                                                                                D    Other _ _ _ _ _ _ _ _ _ _ _ __                                      the entireties, or a life estate), if known.

                                                                                Who has an interest in the property? Check one.
                                                                                D   Debtor 1 only
               County
                                                                                D   Debtor 2 only
                                                                                D   Debtor 1 and Debtor 2 only                                           D    Check if this is community property
                                                                                                                                                              (see instructions)
                                                                                D At least one of the debtors and another
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification n u m b e r : - - - - - - - - - - - - - - -


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                                      $1,300,000.00
    you have attached for Part 1. Write that number here . .... . .. .... ... . ...... . .. ... ...... .. .. .. .. .. ...... ... .. ... .. ..... . .. .. .. .. .. .. . .. ... . ..   -+



F§fj Describe Your Vehicles
 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives . If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3. Cars, vans, trucks , tractors, sport utility vehicles, motorcycles

      D       No
      0    Yes


      3.1.         Make:                        BMW                             Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
                                                                                                                                                          the amount of any secured claims on Schedule D:
                   Model:                       525                             D    Debtor 1 only
                                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                2007
                                                                                D Debtor 2 only
                   Year:                                                                                                                                  Current value of the            Current value of the
                                                                                D    Debtor 1 and Debtor 2 only
                   Approxi mate mileage:        250000                                                                                                    entire property?                portion you own?
                                                                                [ii At least one of the debtors and another
                   Other information :
                                                                                D Check if this is community property (see                                $1,500.00                       $1,500.00
                                                                                     instructions)



      If you own or have more than one, describe here:

       3.2.    Make:                                                            Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
                                                                                                                                                          the amount of a ny secured claims on Schedule D :
               Model:                                                           0    Debtor 1 only
                                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                                D    Debtor 2 only
               Year:                                                                                                                                      Current value of the            Current value of the
                                                                                D    Debtor 1 and Debtor 2 only
               Approximate mileage:                                                                                                                       entire property?                portion you own?
                                                                                D    At least one of the debtors and another
               Other information :
                                                                                                                                                          $_ _ _ _ _ _ __                 $_ _ _ _ _ __
                                                                                D Check if this is community property (see
                                                                                     instructions)




  Official Form 106A/B                                                           Schedule A/B: Property                                                                                          page 2
Debtor 1         Charles
                Case      N.
                     19-50210
                 First Name       Middle Name
                                                Doc 1 Edwards
                                                        Filed 02/20/19
                                                     Last Nam e
                                                                                      Entered 02/20/19   16:12:57
                                                                                                Case number                      Page 10 of 62
                                                                                                                 (ff known), _ _ _ _ _ _ _ _ _ _ _ _ _ __        _




                                                                  Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
   3.3.    Make:
                                                                                                                     the amount of any secured claims on Schedule D:
           Model :                                                D   Debtor 1 only                                  Creditors Who Have Claims Secured by Properfy.
                                                                  D Debtor 2 only
           Year:                                                                                                     Current value of the      Current value of the
                                                                  0   Debtor 1 and Debtor 2 only
                                                                                                                     entire property?          portion you own?
           Approximate mileage:                                   0   At least one of the debtors and another
           Other information:
                                                                                                                     $_ _ _ __                 $. _ _ _ _ _ __
                                                                  0   Check if this is community property (see
                                                                      instructions)


                                                                  Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
   3.4.    Make:
                                                                                                                     the amount of any secured claims on Schedule D:
           Model :                                                0   Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                                  0   Debtor 2 only
           Year:                                                                                                     Current value of the       Current value of the
                                                                  0   Debtor 1 and Debtor 2 only
                                                                                                                     entire property?           portion you own?
           Approximate mileage:                                   0   At least one of the debtors and another
           Other information:
                                                                                                                     $ _ _ _ _ _ __             $_ _ _ _ _ __
                                                                  D Check if this is community property (see
                                                                      instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   [fil No
   D      Yes


                                                                  Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
    4.1.    Make:
                                                                                                                     the amount of any secured claims on Schedule D:
            Model:
                                                                  0   Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                                  0   Debtor 2 only
            Year:
                                                                  0   Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information :                                   0   At least one of the debtors and another         entire property?          portion you own?


                                                                  D Check if this is community property (see          $_ _ _ _ _ __             $._ _ _ _ _ __
                                                                      instructions)



   If you own or have more than one, list here:

    4.2.     Make:                                                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule 0 :
             Model :                                              D   Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                                  0   Debtor 2 only
            Year:                                                                                                     Current value of the      Current value of the
                                                                  0   Debtor 1 and Debtor 2 only
                                                                                                                      entire property?          portion you own?
             Other information:                                   D   At least one of the debtors and another

                                                                                                                      $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                  D Check if this is community property (see
                                                                      instructions)




Official Form 106A/B                                               Schedule A/B: Property                                                               page 3
Debtor 1          Charles
                 Case      N.
                      19-50210                               Doc 1Edwards
                                                                       Filed 02/20/19
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                                                                                                                                             (ff known) _ _ _ _ _ _ _11
                                                                                                                                                                     __ of_62
                                                                                                                                                                           _ _ _ __
                      First Name               Middle Name




                Describe Your Personal and Household Items

                                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                              portion you own?
                                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture , linens, china, kitchenware
     D     No                              .                                                                                                                                                  -;:::+W
     (El Yes. Describe ....... .. !Household Goods, Kitchen Items, Electronics, Furnishings, etc, aggregate not to 1 $ 3,000.00
                                           l~><~~~-~-. J~ .9_Q9.}~_Y~ 1~~:.. ____                     ------···-··········--- -·--              -----··---- ---------                    -·····-··-···········_!   "--'-------
7. Electronics
     Examples: Televisions and radios ; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     [El No
     D     Yes . Describe.


8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections , memorabilia, collectibles
     [El No
     D     Yes. Describe.


9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     [El No
     D     Yes. Describe.


1o. Firearms
     Examples: Pistols , rifles , shotguns, ammunition, and related equipment
     [El No
     0     Yes. Describe.                                                                                                                                                                                          $_ _ _ _ _ _ _ __

11 . Clothes
     Examples: Everyday clothes, furs , leather coats, designer wear, shoes, accessories

     ~ YNoes . Descn.b e..........iWeari·
     ~                            ,     ngAppare-r;·· aggrega_t_e_-ri_o_r_fo_···-_e_
                                                                                   xc_e_e_a_$
                                                                                            _s_o_o_··_·in_v_r_ue_·· · ._··_______· · ·_· ·-_·-· ·~- · _] $§QQ.:.....Oi>_
                                                                                                             a_                                                                                                                _ _ __

12.Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings , wedding rings , heirloom jewelry, watches, gems,
               gold , silver
     0     No
     D     Yes. Describe.

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
     [iii No
     D     Yes . Describe.                                                                                                                                                                                         $_ _ _ _ _ _ __

14. Any other personal and household items you did not already list, including any health aids you did not list




                                                                                                                                                                                                                   $_ _ _ _ _ _ __

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                                     $3,500.00
    for Part 3. Write that number here .... ..... .................................................................. .. ............................. ............................................ ~



 Official Form 106NB                                                                      Schedule A/B: Property                                                                                                             page 4
  Debtor 1         Charles
                 Case           N.
                           19-50210                        Doc 1 Edwards
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                                                                                                                                                        _ _ _ __
                  First Name                 Middle Name           Last Name




. , , , Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                            or exemptions.

 16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     0    No
     I]) Yes ..                                                                                                             Cash: .......................    $50 .00


 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution , list each.

     D    No
     I]) Yes . .... ........ ...... .                                          Institution name:


                                              17.1 . Checking account:          Peoples United Bank Checking and Savings                                     $100.00
                                              17.2. Checking account:           Patriot Bank                                                                 $200 .00
                                              17.3. Savings account:                                                                                         $_ _ _ _ _ _ _ __

                                              17.4. Savings account:                                                                                          $_________

                                              17.5. Certificates of deposit:                                                                                  $_ _ _ _ _ _ __

                                              17.6. Other financial account:                                                                                  $_ _ _ _ _ _ __
                                              17.7. Other financial account:                                                                                  $_ _ _ _ _ _ __
                                              17.8. Other financial account:                                                                                  $_ _ _ _ _ _ __

                                              17.9. Other financial account:                                                                                  $_ _ _ _ _ _ __




 18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds , investment accounts with brokerage firms, money market accounts
     I]) No
     D    Yes ............... ...             Institution or issuer name:

                                                                                                                                                              $_ _ _ _ _ _ __
                                                                                                                                                              $_ _ _ __ _ __
                                                                                                                                                              $_ _ _ _ _ _ __



 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture
     I]) No                                   Name of entity:                                                               % of ownership:
     D    Yes. Give specific                                                                                                _ _ _ _ _%                        $_ _ _ _ _ _ __
          information about
          them ... ..................... .                                                                                  _ _ _ _ _%                        $_ _ _ _ _ _ _ __
                                                                                                                            _____%                            $_ _ _ _ _ _ _ __




  Official Form 106A/B                                                         Schedule A/B: Property                                                                     page 5
Debtor 1        Charles
              Case      N.
                   19-50210                            Doc 1 Edwards
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                                                                                                                       known), _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name            Middle Name             Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, prom issory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them .

   ~No
   D   Yes. Give specific                Issuer name:
       information about
                                                                                                                                           $_________
       them ...................... .
                                                                                                                                           $_________
                                                                                                                                           $_ _ _ _ _ _ __


21 . Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh , 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   D   No
   0   Yes. List each
       account separately. . Type of account:                       Institution name:

                                         401 (k) or similar plan:    Town of Greenwich                                                     $45,000.00

                                         Pension plan :                                                                                    $_ _ _ _ _ _ __

                                         IRA:                                                                                              $_ _ _ _ _ __

                                         Retirement account:                                                                               $ _ _ _ _ _ _ __

                                         Keogh:                                                                                            $_ _ _ _ _ _ __

                                          Additional account:                                                                              $_ _ _ _ _ _ __

                                         Additional account:                                                                               $_ _ _ _ _ _ __


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   0    No
   D   Yes ......................... .                          Institution name or individual:
                                         Electric:                                                                                        $_ _ _ _ _ _ __
                                         Gas :
                                                                                                                                          $_ _ _ _ _ _ __
                                         Heating oil:                                                                                     $_ ________
                                         Security deposit on rental unit : - - - - - - - - - - - - - - - - - - - - - - - - - -            $_ _ _ _ _ _ __
                                         Prepaid rent:                                                                                    $_ _ _ _ _ _ __
                                         Telephone:
                                                                                                                                          $_ _ _ _ _ _ __
                                         Water:
                                                                                                                                          $ _ _ _ _ _ _ _ _~
                                         Rented furniture :                                                                               $_________
                                         other:
                                                                                                                                          $_ _ _ _ _ _ __


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ~ No
   D   Yes ......................... .   Issuer name and description:
                                                                                                                                          $_ _ _ _ _ _ _ __
                                                                                                                                          $_ _ _ _ _ _ __
                                                                                                                                          $_ _ _ _ _ _ __


Official Form 106A/B                                                         Schedule A/B: Property                                                  page 6
Debtor 1      Charles
            Case           N.
                      19-50210                   Doc 1 Edwards
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                                                                                                                                           _ _ _ __
             First Name            Middle Name               Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program .
     26 U.S.C. §§ 530(b)(1 ), 529A(b), and 529(b)(1 ).
   0 No
   D Yes                                   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                 $_ _ _ _ _ _ __
                                                                                                                                                 $________
                                                                                                                                                 $________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   0 No
   D   Yes . Give specific
       information about them . ..                                                                                                               $. _ _ _ __ _ _ _


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   0 No
   D Yes. Give specific
       information about them ...                                                                                                                $._ _ _ _ _ _ _ __


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   0   No
   D   Yes. Give specific
       information about them . ..                                                                                                               $_ _ _ _ _ _ __


Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions .

28. Tax refunds owed to you
   0 No
   D Yes.    Give specific information
                                                                                                                       Federal:              $. _ _ _ _ _ __
             about them, including whether
             you already filed the returns                                                                             State:                $_ _ __ _ __
             and the tax years ....... ..... ..... ..... .
                                                                                                                       Local:                $_ _ _ _ _ _ __


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   0 No
   D   Yes. Give specific information . .. .......... .
                                                                                                                      Alimony:                   $_ _ _ _ _ _ __
                                                                                                                      Maintenance:               $_ _ _ _ _ _ __
                                                                                                                      Support:                   $ _ _ _ _ _ __
                                                                                                                      Divorce settlement:        $_ _ _ _ _ _ __
                                                                                                                      Property settlement:       $_ _ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages , disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation ,
              Social Security benefits; unpaid loans you made to someone else
   0 No
   D Yes.    Give specific information .
                                                                                                                                                 $_ _ _ _ _ _ _ __



 Official Form 106A/B                                                    Schedule A/B: Property                                                             page 7
Debtor 1        Case 19-50210
                 Charles  N.                                                 Doc 1 Edwards
                                                                                     Filed 02/20/19                          Entered 02/20/19   16:12:57
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                  First Name            Middle Name                                              Last Nam e




31. Interests in insurance policies
    Examples: Health , disability, or life insurance; health savings account (HSA); credit, homeowner's , or renter's insurance

   0    No
   D    Yes. Name the insurance company               Company name:                                                                       Beneficiary:                    Surrender or refund value:
             of each policy and list its value . .. .
                                                                                                                                                                          $_ _ _ _ _ _ __
                                                                                                                                                                          $_ _ _ _ _ _ __
                                                                                                                                                                          $. _ _ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
    0   No
    D   Yes. Give specific information ............. .                                                                                                                    $. _ _ _ _ _ _ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    0    No
    D    Yes. Describe each claim ..................... .
                                                                                                '--·--------------------------·-·-··---·----------------~                 $_ _ _ _ __ _ __
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    0    No
    D    Yes. Describe each claim.
                                                                                                                                                                          $_ __ _ _ _ _ __




35. Any financial assets you did not already list

    0    No
    D    Yes. Give specific information............                                                                                                                        $
                                                                                                '--·--·-----··----------·-------------------------'                         ---------
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here ....... .. ............................. . ............................................... ..... ........ .. ...... ......   -+     $45,350 .00




                 Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
    0      No . Go to Part 6.
    D      Yes. Go to line 38.
                                                                                                                                                                         Current value of the
                                                                                                                                                                         portion you own?
                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                         or exemptions.

 38. Accounts receivable or commissions you already earned
    ~ No
    D      Yes. Describe .......1
                                 ............................................................
                                                                                                                                                            ------ - l
                                 L_______                                                                                                                                J$· - - - - - -
 39. Office equipment, furnishings, and supplies
    Examples: Business-related computers , software, modems, printers, copiers, fax machines , rugs , telephones , desks, chairs, electronic devices

    0      No
    D      Yes . Describe




  Official Form 106A/B                                                                                        Schedule A/B: Property                                                   page 8
Debtor 1         Charles
                Case      N.
                     19-50210
                      First Name              Middle Name
                                                            Doc 1Edwards
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    0    No
    0    Yes. Describe



41. Inventory
    0    No
    0    Yes. Describe



42. Interests in partnerships or joint ventures
    0     No
    D     Yes. Describe .. .....              Name of entity:                                                                                                   % of ownership:
                                                                                                                                                                _ _ _%                        $__________
                                                                                                                                                                _ _ _%                        $__________
                                                                                                                                                                _ _         _   %             $_ _ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
    0     No
    0     Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
                  0     No
                  0     Yes. Describe .........



44.Any business-related property you did not already list
     0    No
     D    Yes. Give specific                                                                                                                                                                   $ _ _ _ _ _ _ _ _~
          information .. .......
                                                                                                                                                                                               $_ _ _ _ _ _ _ _~
                                                                                                                                                                                               $_ _ _ _ _ _ _ _~
                                                                                                                                                                                               $_ _ _ _ _ _ _ __
                                                                                                                                                                                               $_ _ _ _ _ _ _ __
                                                                                                                                                                                               $________~

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here .......... .............. .. ............................ ...... .... ................ ...... .......... .... .................. .       .. ...... ~
                                                                                                                                                                                              I$0.00



                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an iri't erest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     0    No. Go to Part 7 .
     D    Yes. Go to line 47.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
     0    No
     D                             .... ...




 Official Form 106A/B                                                                Schedule A/B: Property                                                                                                page 9
Debtor 1           Charles
                 Case            N.
                           19-50210               Edwards
                                            Doc 1 Last Filed 02/20/19                                                      Entered 02/20/19    16:12:57
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                                                                                                                                                                         __of_
                                                                                                                                                                             62_ _ __
                  First Name    Middle Name            Name




48. Crops-either growing or harvested

    0     No
    0     Yes. Give specific
          information .                                                                                                                                                                                          $_ __ _ _ _ __

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     0     No
     D
                                                                                                                                                                                                                 $_ _ _ _ _ _ __

50. Farm and fishing supplies, chemicals, and feed

     0     No
     D
                                                                                                                                                                                                                 $_ _ _ _ _ _ __

51 .Any farm- and commercial fishing-related property you did not already list
     0     No
     0     Yes. Give specific
           information.                                                                                                                                                                                          $_ _ _ _ __ __

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                   $0.00
    for Part 6. Write that number here ....................................................................... .... ................................... ............................ ...... ..... ~




                    Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

     0     No
                                                                                                                                                                                                                  $ _ _ _ _ _ __
     D     Yes. Give specific
           information .                                                                                                                                                                                          $_ __ __ __
                                                                                                                                                                                                                  $_ _ _ _ _ __


54. Add the dollar value of all of your entries from Part 7. Write that number here ........... ..... .... ............................................... ~                                                      $_ _ _ _ _ __



F§f:F               List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ................................................... .. ......................... ...... .. ...... .... ............................................................... ~   $ 1,300,000.00

56. Part 2: Total vehicles, line 5                                                                                     $ 1,500.00

57. Part 3: Total personal and household items, line 15                                                                $3,500 .00

58. Part 4: Total financial assets, line 36                                                                            $45,350.00

59. Part 5: Total business-related property, line 45                                                                   $_0_._0_0_____

60. Part 6: Total farm- and fishing-related property, line 52                                                          $_0_._0_0_____

61 . Part 7: Total other property not listed, line 54                                                              + $_0_._0_0_ ____
62. Total personal property. Add lines 56 through 61 . ....... .. .. .. .... .. .                                 [·-;~~~~~........... , Copy personal property total ~ + $ 50,350.00

63. Total of all property on Schedule A/B. Add line 55 + line 62 .......... .. .. ............... ........... .. ... ... .. .... .. ............. .......... ... .. ... .                                        $1 ,350,350.00


 Official Form 106A/B                                                                         Schedule AiB: Property                                                                                                     page 10
               Case 19-50210               Doc 1               Filed 02/20/19             Entered 02/20/19 16:12:57                  Page 18 of 62
 Fill in this information to identify your case :


 Debtor 1           Charles                N.                          Edwards
                     First Name                 Middle Nam e

 Debtor 2
 (Spouse. if filing ) First Name                Middle Name                  Last Nam e


 United States Bankruptcy Court for the:   District of Connecticut
 Case number                                                                                                                                   D   Check if this is an
  (If known)
'--~~~~~~~~~~~~~~~~~~~~~~~~J                                                                                                                       amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source , list the property that you claim as exempt. If more
space is needed , fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                  Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is fifing with you.
      D    You are claiming state and federal nonbankruptcy exemptions . 11 U.S.C . § 522(b)(3)
      0    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


       Brief description of the property and line on             Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
       Schedule AIB that lists this property                     portion you own

                                                                 Copy the value from       Check only one box for each exemption.
                                                                 Schedule AIB

      Brief         Household Goods , Kitchen Items,
      description : See Attachment 1                             $_3_,o_o_o_._o_o_ _ __    0   $ 3,000.00

      Line from                                                                            D   100% of fair market value, up to
      Schedule AIB:                6                                                           any applicable statutory limit   ---------------


      Brief . .     Wearing Apparel , aggregate not to $ 500.00
                                                                                           0   $ 500.00                             r=zt(vlJ J3?
      description : exceed $500 in vlaue.
      Line from
                                                        --------
                                                                                           D   100% of fair market value , up to
                                                                                               any applicable statutory limit    ---------------
                                                                                                                                                       ~    d
      Schedule AIB:                11

      Brief
      description : Cash
                                                                 $ 50.00                   0   $ 50.00                              ~~-:_ (d) (i)
      Line from - - - - - - - - - - - -                                                    0   100% of fair market value, up to
      Schedule AIB:                16                                                          any applicable statutory limit   - - - - - - - - - - - - -- -


 3. Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years af<er that for ca5es filed on o.r after the date of adjustment.)
      ~ No
      D    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           0       No
           D       Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                              page 1 of£
Debtor 1
           Case 19-50210
             Charles          Doc 1
                     N. Edwards                     Filed 02/20/19              Entered 02/20/19    16:12:57 Page 19 of 62
                                                                                           Case number (it known,)_ - - - - - - - - - - --                  -   -
              First Name          Middle Name   Last Name




f§f!         Additional Page

      Brief description of the property and line        Current valuti of the    Amount of the exemption you claim           Specific laws that allow exemption
      on Schedule AIB that lists this property          portion you own

                                                        Copy the value from      Check only one box for each exemption
                                                        Schedule A/B

      Brief . .    Checking Account with People~    100 .00
      descnpt1on : United Bank Checking and Savings$_ _ _ _ _ __                  0   $ 100.00
                                                                                  0
      Line from
                    17 1
      Schedule A/B: - -
                      ·-
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit
                                                                                                                         -----------~--
                                                                                                                                                          ?
      Brief . .    401 (k) or Similar Plan with Town of
      descnpt1on : Greenwich                              45 •__
                                                        $._..c. 000 ._
                                                                     00 _ __      CEh   45,ooo.oo                           )    2 l(q{J (£ D](t)
      Line from
                                                                                  0   100% of fair market value, up to - - - - - - - - - - - - - -
      Schedule A/B:                                                                   any applicable statutory limit
                           21




                                                                                  ~ :,:~'~;:~;,                           ~ \Z)
      Brief
                                                    1
      description: 2007 BMW 525 with 250000 miles. $__.5_o_o_.o_o_ _ __
      Line from                                                                                     m"k•t "'"'· "P to
                                                                                      any applicable statutory limit     - - - - --=---'"-----"....:::'---- - -
      Schedule A/B:        3.1

      Brief         Checking Account with Patriot
                                                            $ 200.00              III $ 200.00                                              (J._ ][ )
                                                                                                                         -~p
                                                                                                                           ,___.--"-
                                                                                                                                 CZ  ---'--'\...._..,
                                                                                                                                               & . J._\_.,T,..,.,
      description : _B_a_n_k_ _ _ _ _ _ _ __
                                                                                  0 100% of fair market value, up to                                      . 1-+J_ __
      Line from
      Schedule AIB:        17.2                                                       any applicable statutory limit                                 ~
      Brief
      description: _ _ _ _ _ _ _ _ _ __
                                                            $ _ _ _ _ _ __        0$ _ _ __
      Line from                                                                   0 100% of fair market value, up to
                                                                                      any applicable statutory limit     --------------
      Schedule AIB:

      Brief
      description :
                                                            $._ _ _ _ _ __        0$ _ _ __
                     -----------                                                  0 100% of fair market value, up to
      Line from
      Schedule AIB:                                                                   any applicable statutory limit     --------------
      Brief
      description :
                                                            $ _ _ _ _ _ __        0 $ _ _ __
      Line from
                     -----------                                                  0 100% of fair market value, up to     - - - -- - - - - - - - --
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description :
                                                            $._ _ _ _ _ __        0$ _ _ __
      Line from
                      -----------                                                 0 100% of fair market value, up to     - - - -- - - - - - - - - -
      Schedule A/B:                                                                   any applicable statutory limit


      Brief
      description:                                          $                     0$ _ _ __
                      -----------                                                 0 100% of fair market value, up to
      Line from
                                                                                      any applicable statutory limit     --------------
      Schedule A/B:

      Brief
                                                            $_ __ _ _ __          0$ - - - - -
      description:
      Line from                                                                   0 100% of fair market value, up to     - - - - - - - -- - - - --
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description :
                                                            $. _ _ _ __ _ _       0$ _ _ __
      Line from
                      -----------                                                 0 ~ 00% of fair market value, up to    - - - - - - - -- - - - - -
      Schedule AIB:                                                                   any applicable statutory limit


      Brief
      description:
                                                            $ _ _ _ __ _ _        0$ ___ _ _
      Line from
                      -----------                                                 0 100% of fair market value, up to
      Schedule AIB:                                                                   any applicable statutory limit     - - - - - - - -- - - - - -



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page .2_ of 2._
Case 19-50210    Doc 1     Filed 02/20/19     Entered 02/20/19 16:12:57           Page 20 of 62



                                  Attachment
                   Debtor: Charles N. Edwards                 Case No:


Attachment 1
        Electronics, Furnishings, etc, aggregate not to exceed $3,000 in Value.
                   Case 19-50210                 Doc 1            Filed 02/20/19                Entered 02/20/19 16:12:57                              Page 21 of 62
    Fill in this information to identify your case :


    Debtor 1           Charles N. Edwards
                        First Name                 Middle Name                      Last Name

    Debtor 2
    (Spou se, if filing) First Name                Middle Name                      Last Name


    United States Bankruptcy Court for the:     District of Connecticut

    Case number
    (If known)                                                                                                                                                   D   Check if this is an
                                                                                                                                                                     amended filing


    Official Form 1060
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).

    1. Do any creditors have claims secured by your property?
          0      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form .
          0      Yes. Fill in all of the information below.


j@ll                  List All Secured Claims
                                                                                                               CefumnA                                  ·1 Column B ,.   ·   ·,· .    Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                              Value of collateral         Unsecured
        for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                             that supports this          portion
                                                                                                              :Do not deduct the
        As much as possible, list the claims in alphabetical order according to the creditor's name.           value of collateral.                       claim                       If any

12.11       SLS                                                  Describe the property that secures the claim:                     $   1,974,000.00        $   1,300,000.00          $ 674,000.00
          Creditor's Name                                     -·---·----·------------                                 ··------,
            Attn : Collection Agent
          Number             Street                                                                                             I
                                                                 As of the date you file, the claim is: Check all that apply.
            8742 Lucent Boulevard
                                                                 D   Contingent
            Littleton                  co       80129            D   Unliquidated
          City                          State   ZIP Code         D   Disputed
        Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        [!I Debtor 1 only                                        [!I An agreement you made (such as mortgage or secured
        D Debtor 2 only                                              car loan)
        D Debtor 1 and Debtor 2 only                             D Statutory lien (such as tax lien, mechanic's lien)
        D At least one of the debtors and another                D Judgment lien from a lawsuit
                                                                 D   Other (including a right to o f f s e t ) - - - - - - - - -
        D  Check if this claim relates to a
           community debt
l       Date debt was incurred 4-1-2006                          Last 4 digits of account number

                                                                 Describe the property that secures the claim:                     $_ _ _ _ _ __           $._ _ _ _ _ _ _ $_ _ _ __
          Creditor's Name


          Number             Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 0   Contingent
                                                                 D   Unliquidated
          City                          State   ZIP Code
                                                                 D   Disputed
        Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        D     Debtor 1 only                                      D   An agreement you made (such as mortgage or secured
        D     Debtor 2 only                                          car loan)
        D     Debtor 1 and Debtor 2 only                         D   Statutory lien (such as tax lien, mechanic's lien)
        D     At least one of the debtors and another            D   Judgment lien from a lawsuit
                                                                 D   Other (including a right to o f f s e t ) - - - - - - - - -
        D     Check if this claim relates to a
              community debt
        Date debt was incurred                                   Last 4 digits of account number
            Add the dollar value of your entries in Column A on this page. Write that number here:                                     1,974,000 .00

      Official Form 1060                             Schedule D: Creditors Who Have Claims Secured by Property                                                           page 1 of_1_
                                                                   .         .
            Case
 Fill in this       19-50210
              information             Doccase:
                          to identify your 1                   Filed 02/20/19 Entered 02/20/19 16:12:57                                   Page 22 of 62

 Debtor 1             Charles N. Edwards
                      First Name                 Middle Name               Last Name

 Debtor 2
 (Spouse. if fil ing) Fir.;t Name                Middle Name               L;.ist f'fame


 United States Bankruptcy Court for the:    District of Connecticut
 Case number
                                                                                                                                                       D   Check if this is an
 (If known)                                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed , copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                     List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        [) No. Go to Part 2.
        D     Yes.
      2.List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim . For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        non priority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                   ' Total claim       Priority        Nonpriorlty
                                                                                                                                                       amount          amount

                                                                    La.st 4 digits of account number _ _ _ _                   $                   $               $
          Priori ty Creditor's Name

                                                                    When was the debt incurred?
          Number            Street

                                                                    As of the date you file, the claim is: Check all that apply.

          City                           State      ZIP Code
                                                                    D   Contingent
                                                                    D   Unliqui(!ated
          Who incurred the debt? Check one.
                                                                    D   Disputed
          D Debtor 1 only
          D Debtor 2 only                                           Type of PRIORITY unsecured claim:
          D Debtor 1 and Debtor 2 only                              D   Domestic support obligations
          D At least one of the debtors and another
                                                                    D   Taxes and certain other debts you owe the government
          D      Check if this claim is for a community debt
                                                                    D   Claims for daath or personal injury while you were
          Is the claim subject to offset?                               intoxicated
          D   No                                                    D   Other. Specify
          D Yes
2.2
                                                                    Last 4 digits of account number _ _ _ _                        $               $               $
          Priority Creditor's Name
                                                                    When was the debt incurred?
          Number            Street
                                                                    As of the date you file, the claim is: Check all that apply.
                                                                    0   Contingent
          City                           State      ZIP Code        D   Linliqui dated
          Who incurred the debt? Check one.                         0   Disputed
          D Debtor 1 only
                                                                    Type of PRIORITY unsecured claim :
          D Debtor 2 only
          D Debtor 1 and Debtor 2 only                              D   Domestic support obligations

          D At least one of the debtors and another                 D   Taxes and certain other debts you owe the government

          D      Check if this claim is for a community debt
                                                                    D   Claims for death or personal injury while yo u were
                                                                        intoxicated
          Is the claim subject to offset?                           D   Other. Specify _ _ _ _ _ _ _ __ _ _ __ _
          D No
          D Yes

Official Form 106E/F                                       Schedule EIF: Creditors Who Have Unsecured Claims                                                 paqe 1 of   8
Debtor 1              Charles N. Edwards                                                                     Case number (ffhnown) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                Case      19-50210
                 First Name    Middle 1.Jame Doc 1 Last Name
                                                        Filed 02/20/19              Entered 02/20/19 16:12:57                              Page 23 of 62
f §fj              List All of Your NONPRIORITY Unsecured r:laims
i
: 3. Do any creditors have nonpriority unsecured claims againsi you?
       D    No. You have nothing to report in this pa;t. Submit this form to th e court with your other schedules.
       0    Yes

    4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       priority unsecured claim, list the cred itor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than four priority unsecured claims
       fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim

E:J        American Express
         Nonpriority Creditor's Name
                                                                                      Last 4 digits of account number _ _ _ _
                                                                                                                                                                 $36,000.00
                                                                                     When was the debt incurred?               1/1/2014
           ATTN : Collection Agent PO Box 1270
         Number           Street

           Newark                            NJ                   07101
         City                                             State      ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                      D      Contingent
         Who incurred the debt? Check one.                                            D      Unliquidated
         [I Debtor 1 only                                                             D      Disputed
         D      Debtor 2 only
         D      Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
         D      At least one of the debtors and another                               D      Student loans
         D      Check if this claim is for a community debt                           0  Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
         Is the claim subject to offset?                                              D Debts to pension or profit-sharing plans, and other similar debts
         [I No                                                                        [I Other. Specify Credit Card Charges
         D      Yes


           Cavalry SPV I, LLC                                                         Last 4 digits of account number _ _ _                    _                 $ 17,000.00
         Nonpriority Creditor's Name                                                  When was the debt incurred?
           Attn: Member PO Box 27288
         Number           Street

           Tempe                         AZ                       85285-7288          As of the date you file, the claim is: Check all that apply.
         City                                             State      ZIP Code
                                                                                      D      Comingent
         Who incurred the debt? Check one.                                            D      Unliquidated
         [I Debtor 1 only                                                             D      Disputed
         D      Debtor 2 only
         D      Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
         D      At least one of the debtors and another                               D      Student loans
                                                                                      D      Obligations arising out of a separation agreement or divorce
         D      Check if this claim is for a community debt                                  that you did not report as priority claims
         Is the claim subject to offset?                                              D      Debts to pension or profit-sharing plans, and other similar debts
         [I No                                                                        Q      Other. Specify Credit Card Charges
         D      Yes

    EJ     Citi Cards
         Nonpriority Creditor's Name
                                                                                      Last 4 digits of account number _ _ _ _
                                                                                                                                                                 $ 24 ,000.00
                                                                                      When was the debt incurred?              1-1-2016
           ATTN: Collection Agent P.O. Box 9001037
         Number           Street

           Louisville                        KY                   40290-1037
         City
                                                                                      As of the date you .file, the claim is: Check all that apply.
                                                          State      ZIP Code

         Who incurred the debt? Check one.
                                                                                      D      Contingent
                                                                                      D      Unliquidated
         [I Debtor 1 only
                                                                                      D      Disputed
         D      Debtor 2 only
         D      Debtor 1 and Debtor 2 only
                                                                                      Type of NONPRIORITY unsecured claim:
         D      At least one of the debtors and another
                                                                                      D      Student loans
         D      Check if this claim is for a community debt                           D      Obligations arising out of a separation agreement or divorce
         Is the claim subject to offset?                                                     that you did not report as priority claims
         [I No                                                                        D      Debts to pension or profit-sharing plans, and other similar debts
         D      Yes
                                                                                      l:iJ   Other. Specify Credit Card Charges




    Official Form 106E/F                                     Schedule E/F: Credit.:>rs Who Have Unsecured Claims                                                      paqe2     of 8
Debtor 1           Charles N. Edwards                                                                             Case number (n knowni _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Case 19-50210
                   First Name       Middle Nam e   Doc 1 Last Name
                                                              Filed 02/20/19                 Entered 02/20/19 16:12:57                          Page 24 of 62
                  Your NONPRIORITY Unsecured Clai1ns - - Continiiation Page


After listing any entries on this page, number them beg i nr1iT1 ~                   wltn 4.5, followed by 4.o, and so forth.                                          Total claim




G]    Midland Fun d'ing
      Nonpriorily Creditor's Name
                                                                                               Last 4 digits of account number _ _ _ _
                                                                                                                                                                       $   13,500.00 ;
                                                                                               When was the debt incurred?           2/1/2010
      ATTN: Collection Agent 2365 Northside Dr Ste 30
      Number             Street
                                                                                               As of the date you file, the claim is: Check all that apply.
      San Diego                            CA                         92108
      City                                                 State         ZIP Code              0   Contingent
                                                                                               0   Unliquidated
      Who incurred the debt? Check one .                                                       0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim :
      0      Debtor 1 and Debtor 2 only
                                                                                               0   Student loans
      0      At least one of the debtors and another
                                                                                               0   Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                               0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          0   Other. Specify Credit Card Charges
      0      No
      0      Yes




      The Manhattan Club                                                                       Last 4 digits of account number _ _ _ _                                 $   23,000.00    i
      Nonpriority Creditor's Name
                                                                                               When. was the debt incurred?          1/1 /2015
      Attn: Collection Agent 112 North Courtland Street
      Number             Street
                                                                                               As of the date.you file, the cl.a im is: Check all that apply.
       East Shroudsberg                               PA              18301
      City                                                 State         ZIP Code              0   Contingent
                                                                                               0   Unliquidated
      Who incurred the debt? Check one .
                                                                                               0   Disputed
      UI     Debtor 1 only
      0      Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                               0   Student loans
      0      At least one of the debtors and another
                                                                                               0   Obli~ations arising out of a separation agreement or divorce that
      0      Check if this claim is for a community debt                                           you did not report as priority claims
                                                                                               0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          0   Other. Specify_D_e_fi_c....:ie_n....:c..,,y_ _ _ _ _ _ _ __
      0      No
      0      Yes


                                                                                                                                                                       $   7,000.00
      Vacation Club                                                                            Last 4 digits of account number _ _ _ _
      Nonpriority Creditor's Name
                                                                                               When was the debt incurred?            1/1/2016
      Attn: Collection Agent P.O. Box 150
      Number             Street
                                                                                               As of the date you file, the claim is: Check all thai apply.
      Scottsdale                                     AZ.              95252
      City                                                 State         Zlr' Code             0   Contingent
                                                                                               D   Unliquidated
      Who incurred the debt? Check one.
                                                                                               0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only
                                                                                               D   Student loans
      0      At least one of the debtors and another
                                                                                               0   Obligations arising out bf a separation agreement or divorce that
      0      Check if this claim is for a community debt                                           you did not report as priority claims
                                                                                               0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                          8   Other. si:;~cify_D_e_fic_i_e_r.....:c,,_y_ _ _ _ _ _ _ __
      0      No
      0      Yes




  Official Form 106E/F                                             Schedule E/F: Creditors Who Have .Unsecured Claims                                                  paqe3     of 8
    Debtor 1       Charles N. Edwards                                                            Case number (ff known), _ _ _ _ _ _ _ _ _ __ __ __
               Case      19-50210
                First Name    Middle Name Doc 1 l 2:;t Name
                                                       Filed 02/20/19             Entered 02/20/19 16:12:57              Page 25 of 62
•              Add the Amounts for Each Type of               Unsm::~r-ed Claim
    6. Total the amounts of certain types of unsecured claims . This infonnafo.:m is for statistical reporting purposes only. 28 U.S.C. §159.
       Add the amounts for each type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                                 6a.
    Total claims                                                                            $
    from Part 1
                   6b. Taxes and certain other debts you owe the
                       government                                                   6b.     $

                   6c. Claims for death or personal injury while you were
                       intoxicated                                                  6c.
                                                                                            $

                   6d . Other. Add all other priority unsecured claims.
                        Write that amount her·e.                                    6d .   +$



                   6e. Total. Add lines 6a through 6d.                              6e.
                                                                                            $



                                                                                            Total claim


    Total claims 6f. Student loans                                                  6f.
                                                                                             $0.00
    from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                       6g.      $0.00
                   6h . Debts to pension or profit-sharing plans, and other
                        similar debts                                               6h .    $0.00

                   6i. Other. Add all other nonpriority unsecured cla ims.
                       Write that amount here.                                      6i.    + $120,500.00

                   6j . Total. Add lines 6f through 6i.                             6j .
                                                                                             $120,500.00




      Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                     paqe8   of 8
                    Case 19-50210               Doc 1               Filed 02/20/19                Entered 02/20/19 16:12:57                     Page 26 of 62
                                                                        ..               ~..            \·       {

    Fill in this information to identify your case :                                     : ,             •~


      Debtor               Charles N. Edwards
                           First Name               Middle Nar:ie               Last Name

      Debtor 2
      (Spouse If filing)   First Name               Middle Name                 Last Netme


      United States Bankruptcy Court for th e:_D_i_st_ri_c_t_of_C_o_nn_e_c_t_ic_u_t _ _ _ _ _ _ _ __

      Case number
      (If known)                                                                                                                                          D   Check if this is an
                                                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


      1. Do you have any executory contracts or unexpired leases?
           D       No. Check this box and file this form with the court with your other schedules . You have nothing else to report on this form .
           ~ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106NB).
    2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.
                                                                                             :-
                                                                                                             .   '
           Person or company with whom you have the contract or lease ·                                          ·: State what the contract or lease is for



            Name

            Number            Street

            City                                State      ZIP Code
~'         -------·-----·------·
            Name

            Number            Street




            Cit                                 State      ZIP Code

!2.4
1--         Name
I
'
I

I
I
I
            Number            Street

!           City                                State      ZIP Code
f--•
•2.5,
L~y~-.t
            Name

            Number            Street

            City                                State      ZIP Code



Official Form 106G                                      Schedule     G: Executory Contracts and Um;xpired Leases                                                page 1 of _ 1_
                   Case 19-50210                                                      Doc 1                                   Filed 02/20/19                                                  Entered 02/20/19 16:12:57                                                Page 27 of 62
                                                                                                                                                         ""                                 ·.                               .
 Fill in this information to identify your case :                                                                                                                                 ·                .


 Debtor 1               Charles N. Edwards
                         First Name                                                             Middle Name                                                                 L::ist Narr:s


 Debtor 2
 (Spouse, if filing ) First Name                                                                Middle Name                                                                 L ast Narne



 United States Bankruptcy Court for the:. __:D:_i:.:s=-tr=-ic::..:t-=o'-f--'C'-o'-n-n_e_c_t_ic_u_t_ _ _ _ _ _ __ _ _

 Case number
    (if   known)                                                                                                                                                                                                                                                                 D   Check if this is an
                                                                                                                                                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case , do not list either spouse as                                                                                                                                           a codebtor.)
           0    No
           D    Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
     Arizona , California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington , and Wisconsin .)

           0    No. Go to line 3.
           D    Yes. Did your spouse, former spouse, or legal equivalent.live with you at the time?
                D No
                0      Yes. In which community state or territory did you live? _________ . Fill in the name and current address of that person .



                       Name of your spouse, former spouse, or legal equivalent



                       Number                             Street


                       City                                                                                                 State                                                                      ZIP Code


    3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           Schedule D (Official Form 106D), Schedule E/F(Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
           Schedule EIF, or Schedule G to fill out Column 2.

             Column 1: Your codebtor                                                                                                                                                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                                                                                                                                                               Check all schedules that apply:


                                                                                                                                                                                                                                                0      Schedule D, line _ __
               Name
                                                                                                                                                                                                                                                0      Schedule E/F, line
               Number                    Street                                                                                                                                                                                                 0      Schedule G, line _ __

                                                                                                                                   State ...                                                                ZIP Code .
                                                                                                                                                                                            .........................................                                                                     .I
13.21 · ·      City
                                                                                     ................ ·····--····         . ·······-······



               -Name
                  ------------------·---------------                                                                                                                                                                                            0      Schedule D, line _ __
                                                                                                                                                                                                                                                0      Schedule E/F, line
               Number                     Street                                                                                                                                                                                                0      Schedule G, line _ __

               (;ity          ...................................... --·   --······· .................................................13.t .a_t_~ .................. ..........             _              Zlf"(;()d~


I§T            ~N~am-e---------------------------------                                                                                                                                                                                         0      Schedule D, line _ __
                                                                                                                                                                                                                                                0      Schedule E/F, line _ __
               Number                     Street                                                                                                                                                                                                0      Schedule G, line _ __

1                                                                                                              ,____§.t.~.\L_ _ _ _ _ _ _                                                                  ZIP Code                            ________________________                                    )



Official Form 106H                                                                                                                                                Schedule H: Your Codebtors                                                                                           pa~e   1 of _ 1_
                Case 19-50210              Doc 1              Filed 02/20/19                     Entered 02/20/19 16:12:57                     Page 28 of 62
                                              )                     . "         ....     ., ,.               .
 Fill in this information to identify your case:                                "'
                                                                '         ..         .   .         .

 Debtor 1             Charles N. Edwards
                     First Name              Middle l'llsme

 Debtor 2
 (Spouse, if filing ) First Name             Middle Name


 United States Bankruptcy Court for the: _D_i_s_tr_ic_t_o_f_C_o_n_n_e_ct_ic_u._t_ _ _ _ _ _ _ _ _ _ __

 Case number                                                                                                           Check if this is:
  (If known )
                                                                                                                       D An amended filing
                                                                                                                       D A supplement showing post-petition
                                                                                                                             chapter 13 income as of the following date:
Official Form 1061                                                                                                           MM I DD / YYYY

Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question .


• , , , Describe Employment


 1. Fill in your employment
    information.                                                                         Debtor 1                                          Debtor 2 or non-filing spouse

      If you have more than one job,                                                 . ';".

      attach a separate page with ·
      information about additional          Employment status ·                 0 Employed                                                 0   Employed
      employers.                                                                D             Not employed                                 0   Not employed
      Include part-time, seasonal, or
      self-employed work.
                                            Occupation                         Case Manager                                            Real Estate Agent
      Occupation may Include student
      or homemaker, if it applies.
                                            Employer's name                    Town of Greenwich                                       Self


                                            Employer's address                 101-Field Point Road                                   111 Bible Street
                                                                                Number Street                                         Number Street




                                                                               Greenwich , CT 06830                                   Cos Cob, CT 06807
                                                                                City            State             ZIP Code            City                    State    ZIP Code

                                           .How long employed there?                          25 Years                                     30 Years


f lfM                Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated .
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this forr'n .             ·

                                                                                                                   For Debtor 1        For Debtor 2 or
                                                                                                                                       non-filing spouse
   2. List monthly gross wages, salary, and commisslons (before all payroll
      deductions). If not paid monthly, calculate what the monthly wage would be.                            2.   $ 7,124.00                $ 333.00

   3. Estimate and list monthly overtime pay.                                                                3. +$ 0.00               + $ 0.00


  4. Calculate gross income. Add line 2 + line 3.                                                            4.   $ 7,124.00
                                                                                                                                  II        $ 333.00



Official Form 1061                                                        Schedule I: Your Income                                                                     page 1
                 Case 19-50210                           Doc 1               Filed 02/20/19                          Entered 02/20/19 16:12:57                               Page 29 of 62
                    Charles N. Edwards                                                                                                         Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
                    First Name           Middle Name                   Last Name



                                                                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                                                                    non-filing spouse

     Copy line 4 here ................. .... ...... .... ..... ....... .... .. ............ .. ...... ......... ..............   -+ 4.         $ 7,124.00                $ 333.00

  5. List all payroll deductions:

      Sa. Tax, Medicare, and Social Security deductions                                                                            Sa.         $ 1,S14.SO                $ 40.00
       Sb. Mandatory contributions for retirement plans                                                                             Sb.        $ 0.00                    $ 0.00

       Sc. Voluntary contributions for retirement plans                                                                             Sc.        $ 0.00                    $ 0.00
       Sd. Required repayments of retirement fund loans                                                                             Sd .       $ 0.00                    $ 0.00

       Se . Insurance                                                                                                               Se.        $ 41B.17                  $ B3.00

       Sf. Domestic support obligations                                                                                             Sf.        $ 0.00                    $ 0.00

                                                                                                                                    Sg.        $ 177.67                  $ 0.00
       Sg . Union dues
       Sh . Other deductions. Specify:                                                                                              Sh. +$ O.QO                     + $ 0.00

   6. Add the payroll deductions . Add lines Sa + Sb + Sc + Sd + Se +Sf+ Sg + Sh.                                                    6.        $ 2,110.34                $ 123.00


   7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                            7.        $ S,013.66                $ 210.00


   8. List all other income regularly received:
       Ba . Net income from rental property and from operating a business,
            profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total                                                             $ 0.00                    $ 0.00
                 monthly net income.                                                                                                Ba .
        Bb . Interest and dividends                                                                                                 Bb.      . $._o_.o---'o_ __          $ 0.00
        Be. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce                                                         $ 0.00                    $ 0.00
                 settlement, and property settlement.                                                                               Be.
       Bd . Unemployment compensation                                                                                               Bd .       $ 0.00                    $ 0.00
       Be . Social Security                                                                                                         Be.        $ 2,B46.00                $ 1,032.00

        Bf. Other government assistance that you regularly receive
            Include cash assistance and the value (if. known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental                                                             $ 0.00                    $ 0.00
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                   Bf.

        Bg . Pension or retirement income                                                                                           Bg .       $ 0.00                    $ 0.00

        Bh . Other monthly income. Specify: _.- - - - - - - - - - - - - -                                                           Bh. +$ 0.00                         +$ 0.00

    9. Add all other income . Add lines Ba+ Bb +Be+ Bd +Be+ 8f +Bg + Bh .                                                            9.
                                                                                                                                           I   $ 2,B46.00
                                                                                                                                                                  II     $ 1,032.00

   10. Calculate monthly income. Add line 7 +line 9.
       Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                     10.1
                                                                                                                                                $ 7,B59.66
                                                                                                                                                                  l+I     $ 1,242.00          I= 1$ 9.101.66

   11 . State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unrnarried partner, members of your household , your dependents, your roommates , and other
       friends o r relatives.
       Do not include any amounts already included in lines 2-1 o·or amounts that are not available to pay expenses listed in Schedule J.
       Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              11 . + $._o_.o_o_ _ __

   12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
       Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it appiies                                                               12.      '$ 9,101.66
                                                                                                                                                                                                  Combined
                                                                                                                                                                                                  monthly income
    13. Do you expect an increase or decrease within the year after you file tilis form?
           ill   No .
           D     Yes. Explain :


   Official Form 1061                                                                            Schedule I: Your income                                                                           page 2
               Case 19-50210                        Doc 1              Filed 02/20/19                     Entered 02/20/19 16:12:57                 Page 30 of 62


 Debtor 1           Charles N. Edwards
                     Firsl Name                          Middle Name                                                    Check if this is:
 Debtor 2                                                                                                               0   An amended filing
 (Spouse, if fili ng) First Name                         Middle Name                       Last Namf!:

                                                                                                                        0   A supplement showing post-petition chapter 13
 United States Bankruptcy Court for the: ..:D:...:i.::.st"-ri-=c_t-'-of_C_;__;_o_nn_e-'-c'--t_ic-=u_t_ _ _ _ _ _ _ __       expenses as of the following date:
 Case number                                                                                                                MM I DD / YYYY
 (If known )




Official Form 106J
Schedule J: Your Expenses                                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question. ·

                     Describe Your Household

1. Is this a joint case?

    [i) No. Go to line 2.
    D    Yes. Does Debtor 2 live in a separate household?

                 D No
                 D     Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                              0    No
                                                                                                        Dependent's relationship to               Dependent's      Does dependent live
    Do not list Debtor 1 and                            D    Yes. Fill out this information for         Debtor 1 or Debtor 2                      age              with you?
    Debtor 2.                                                each dependent.. ...... : ................ - - - - - - - - - - - -
    Do not state the dependents'                                                                                                                                   D   No
    names.                                                                                                                                                         D   Yes

                                                                                                                                                                   D   No
                                                                                                                                                                   D   Yes

                                                                                                                                                                   D   No
                                                                                                                                                                   D   Yes

                                                                                                                                                                   D   No
                                                                                                                                                                   D   Yes

                                                                                                                                                                   D   No
                                                                                                                                                                   D   Yes

3. Do your expenses include                             [E) No
   expenses of people other than
   yourse.lf a.rid your ~epe.11~e11t~?                  D    Yes

                  Estimate Youf' Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed . If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 1061.)                                                             Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
    any rent for the ground or lot.                                                                                                                 $ 8 ,748 .00
                                                                                                                                            4.
      If not included in line 4:
      4a.      Real estate taxes                                                                                                            4a.     $ 0.00
      4b.      Property, homeowner's, or rente r's insurance                                                                                4b.     $ 240.00
      4c.      Home maintenance, repair, and upkeep expenses                                                                                4c.     $ 100.00
      4d.      Homeowner's association or condominium dues                                                                                  4d.     $ 0.00

 Official Form 106J                                                             Schedule J: Your Expenses                                                               page 1
              Case 19-50210                   Doc 1       Filed 02/20/19         Entered 02/20/19 16:12:57                 Page 31 of 62
Debtor 1          Charles N. Edwards                                                          Case number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Nam e    Middle Name           Last Name




                                                                                                                           Your expenses

                                                                                                                           $ 0.00
 5. Additional mortgage payments for your residence , such as home equity loans                                 5.


 6. Utilities:

       6a.    Electricity, heat, natural gas                                                                    6a.        $ 250.00

       6b.    Water, sewer, garbage collection                                                                  6b.        $ 40.00

       6c.    Telephone, cell phone, Internet, satellite, and .cable services                                   6c.        $ 180.00

       6d .   Other. Specify: Cell Phone                                                                        6d .       $ 150.00

  7. Food and housekeeping supplies                                                                             7.         $ 600.00

  8. Childcare and children's education costs                                                                   8.         $ 0.00

  9. Clothing, laundry, and dry cleaning                                                                        9.         $ 100.00

10.    Personal care products and services                                                                      10.        $ 20.00

11 . Medical and dental expenses                                                                                11 .       $ 90.00

12. Transportation. lncll!de gas, maintenance, bus or train fare .
                                                                                                                           $ 350.00
       Do not include car payments.                                                                             12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.        $ 100.00
14.    Charitable contributions and religious donations                                                         14.        $ 100.00

 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a . Life insurance                                                                                     15a.       $ 30.00
       15b. Health insurance                                                                                    15b.       $ 0.00
       15c. Vehicle insurance                                                                                   15c.       $ 160.00
       15d . Other insurance. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        15d .      $ 0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 :>r 20.
       Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                           $ 0.00
                                                                                                                16.

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                          17a.       $ 394 .00

       17b. Car payments for Vehicle 2                                                                          17b.       $ 0.00

       17c. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                  17c.       $
       17d . Other. Specify:                                                                                    17d.       $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1051).                                                18.   $ 0.00

19.    Other payments you make to support others who do not live with you.
       Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~----                                                              $ 0 .00
                                                                                                                     19.

20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       2oa . Mortgages on other property                                                                        20a.       $ 0.00

       20b . Real estate taxes                                                                                  20b.       $ 0.00
       20c. Property, homeowner's, or renter's insurance                                                        20c.       $ 0.00
       20d . Maintenance, repair, and upkeep expenses                                                           20d.       $ 0.00
       20e . Homeowner's association or condominium dues                                                        20e.       $ 0.00


  Official Form 106J                                              Schedule J: Your Expenses                                                page 2
             Case 19-50210                    Doc 1       Filed 02/20/19         Entered 02/20/19 16:12:57              Page 32 of 62
Debtor 1          Charles N. Edwar.:ls                                                        Case number Ufknown),_ _ _ _ _ _ _ _ _ __
                  First Name    Middle Name           last Name




21 . Other. S p e c i f y : - - - - - - - - - - - - - - - ---- - - - - - -                                      21 .   +$ 0.00

22. Calculate your monthly expenses.                                                                                    $ 11,652.00
    22a . Add lines 4 through 21.
                                                                                                                        $
    22b . Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $ 11 ,652.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                             22.



23. Calculate your monthly net income.
                                                                                                                         $ 9,101.66
    23a .    Copy line 12 (your combined monthly income) from Schedule I.                                      23a .

    23b .    Copy your monthly expenses from line 22 above.                                                    23b.    - $ 11 ,652 .00

    23c.     Subtract your monthly expenses from your monthly income .
                                                                                                                         $ -2,550.34
             The result is your monthly net income .                                                           23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modifica tion to the terms of your mortgage?

    (!) No .
    D      Yes.       Explain here:




  Official Form 106J                                              Schedule J: Your Expenses                                               page 3
              Case 19-50210                           Doc 1              Filed 02/20/19                              Entered 02/20/19 16:12:57                                   Page 33 of 62
                                                                                               ....   ~-..                   . .
 Fill in this information to identify your case:                                             ~· '            .   .


 Debtor 1           Charles                              N.                                    ~d wards                            . i
                   -F
                    - ir-
                        st -Na_m_e _ _ _ _ _ __ M
                                                - id-
                                                    dl-e-N am-
                                                            e - --                   -   -   -Last Nome              -   -    -


 Debtor 2
 (Spouse, if filin g) First Name                           Middle Name                         Last Name


 United States Bankruptcy Court for the :             District of Connecticut
 Case number                                                                                                                                                                                   D   Check if this is an
                      (If kn own)
                                                                                                                                                                                                   amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


flfl            Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own
1. Schedule AIB: Property (Official Form 106NB)
    1a. Copy line 55, Total real estate, from Schedule A/8 ........... .,,-.:: .. . :.. ........ ......... :.. .. .... ..... ........ .... ...... .. ... ....... .... ... ............ .
                                                                                                                                                                                               $   1,300,000.00


    1b. Copy line 62, Total personal property, from Schedule AIB ._. .. ............... ... .. .. ..................... ...... ... .. ... .... ........ ... ..... ......... ..                 $   50,350.00

    1c. Copy line 63, Total of all property on Schedule AIB .. .. ... ........ ............. ........ .. ...... .......... ... ........ ........... ...... ................. .... 1            $ _ _ _ __ __
                                                                                                                                                                                           ~--------~

flfj            Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ...... .... ..                                                          $   1,974,000.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                               $ _ _ _ _ _ __
    3a. Copy the total claims from Part 1 (priority unsecured claims ) from line 6e of Schedule EIF ............... .......... ... ........... ...

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims ) from line 6j of Schedule EIF ............. ........ .... ... ... .... ...
                                                                                                                                                                                           +   $   120,500.00


                                                                                                                                                       Your total liabilities                  $   2,094,500 .00


H§fl            Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule I ...... ... .... .... ....... .. ...... ....... .. ...... ......... .... ... ... ....... .. .... ........ .                    $   9, 101 .66

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J. .......... .. ...... ... ... ... ... .... .... .. ............... ........ .. ............. .. .                         $   11 ,652.00




Official Form 106Sum                                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
                   Case 19-50210                   Doc 1       Filed 02/20/19         Entered 02/20/19 16:12:57                      Page 34 of 62
   Debtor 1      Cha=rl~e07s~--~~,-N
                                  ~.---.,---,~--~E=dward~--                                             Case number (.Hnown),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                       First Name    Middle Name           Last Name




                      Answer These Questions for Administrafo,e u r.d Statistical Hecords


     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

            D   No. You have nothing to report on this part of the form . Check this box and submit this form to the court with your other schedules.


;.,.....   ___ ------- -------
            0   Yes


     7 . What kind of debt do you have?

            IKI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

            0   Your debts are not primarily consumer debts. You have nothing to report on this part of the form . Check this box and submit
                this form to the court with your other schedules.



      8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
            Form 122A-1Line11 ; OR, Form 122B Line 11 ; OR, Form 122C-1Line14.                                                               $ 7,457 .00




      9. Copy the following special categories of claims from Part 4, line 6 of Schedule EJF:


                                                                                                                  Total claim


             From Part 4 on Schedule EJF, copy the following :


            9a. Domestic support obligations (Copy line 6a.)
                                                                                                                  $_ _ _ _ _ _ _ __

            9b . Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                                  $0.00
            9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                  $_ _ _ _ _ _ _ __


            9d . Student loans. (Copy line 6f.)
                                                                                                                  $_ _ _ _ _ _ _ __

            9e. Obligations arising out of a separation agreement or divorce that you did not report as
                priority claims . (Copy line 6g .)                                                                $_ _ _ _ _ _ _ _ __


            9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h .)           +   $



            9g . Total. Add lines 9a through 9f.                                                                  $ 0.00




            Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
                   Case 19-50210             Doc 1         Filed 02/20/19
                                                            •    •               •          •
                                                                                                 Entered
                                                                                                       t
                                                                                                         02/20/19 16:12:57
                                                                                                          t'   '
                                                                                                                                                             Page 35 of 62
Fill in this information to identify your case: ·                                     ·

Debtor 1           Charles N. Edwards
                    First Name               Middle Name              .. L?st   h~ .-;;- -- - -- ·


Debtor 2
(Spouse , if filing) First Name              Middle Name                Last Narne


United States Bankruptcy Court for the : _ _ _ _ _D_is_tr_ic_t_O_f_C_o_n_n_a_c_ti_c_ut_ _ _ __

Case number
 (If known)
                                                                                                                                                                         D   Check if this is an
                                                                                                                                                                             amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                                      12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                      Sign Below

                                                                                     \ .

        Did you pay or agree to pay someone who is NOT an attorney 'to help you fill out bankruptcy forms?

        ill   No
        D     Yes. Name of person _ _ _ _ _ _ _ _ _ __ _ __ _ _ _ _ _ __                                           . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                                   Signature (Offi cial Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




                                                                                Signatu_re      c~   Debtor 2


          Date .J
                 MM
                      jll) \1ru9
                          DD      I   YYYY
                                                                                Date
                                                                                           MM/ DD I        YYYY




  Official Form 106Dec                                          Declaration About an Individual Debtor's Schedules                                                                    page 1
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                                                                                      •      .l.:--..   ··l
 Fill in this information to identify your case:
                                                                        .    '    .
 Debtor 1              Charles                   N.                              Edwards
                       First Name                Middle Name                     Last Name

 Debtor 2
 (Spou se, if fi li ng) First Name               Middle Name                     Last Name


 United States Bankruptcy Court for the:      District of Connecticut

 Case number
  (If known )                                                                                                                                              D   Check if this is an
                                                                                                                                                               amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                             04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form . On the top of any additional pages, write your name and case
number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

       0    Married                                                                           ·. _,_ ~· .   ·.
       D Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?
      0     No
      D     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                Debtor 1:                                               Dates Debtor 1                        Debtor 2:                                          Dates Debtor 2
                                                                        lived there                                                                              lived there


                                                                                                                 D   Same as Debtor 1                          D   Same as Debtor 1


                                                                        From                                                                                       From _ __
                Number               Street                                                                          Number   Street
                                                                        To                                                                                         To




                City                          State ZIP Code                                                         City               State ZIP Code


                                                                                                                 D   Same as Debtor 1                          D   Same as Debtor 1


                                                                        From                                                                                       From _ __
                Number               Street                                                                          Number Street
                                                                        To                                                                                         To




                City                          State ZIP Code                                                         City               State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse o; legal equivalent in a community property state or territory? (Community property states
    and territories include Arizona , California, Idaho, Louisiana , Nevada, New Mexico, Puerto Rico , Texas, Washington , and Wisconsin .)
      [!) No
      D     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 1
             Case 19-50210                      Doc 1            Filed 02/20/19                Entered 02/20/19 16:12:57                          Page 37 of 62
Debtor 1         Charles N. Edwards                                                                             Case number W•nown)._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Nam e       Middle Name             Last Name




f lfj         Explain the Sources of Your Income

 4. Did you have any income from employment or from                        op~rating      a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     D No
     0     Yes . Fill in the details.




                                                                  Sources of income             Gross income              Sources of income            Gross income
                                                                  Check all that apply.         (before deductions and    Check all that apply.        (before deductions and
                                                                                                exclusions)                                            exclusions)

            From January 1 of current year until
                                                                  IZI   Wages, commissions,
                                                                                                 $135,000.00
                                                                                                                          D   Wages, commissions,
                                                                                                                                                       $_ _ _ _ _ __
                                                                        bonuses, tips                                         bonuses, tips
            the date you filed for bankruptcy:
                                                                  D     Operating a business                              D   Operating a business


            For last calendar year:
                                                                  0     Wages, commissions,                               0   Wages, commissions,
                                                                        bonuses, tips            $87,164.00                   bonuses, tips            $_ _ _ _ _ _ __
            (January 1 to December 31, 2017                       D     Operating a business                              D   Operating a business
                                                yyyy



            For the calendar year before that:
                                                                  IZI   Wages, commissions,                               D   Wages, commissions,
                                                                        bonuses, tips                                         bonuses, tips
                                                                                                 $ 83,587.00                                           $_ _ _ _ _ __
            (January 1 to December 31 , ,..,2_,,0.,..1,...6_ _    0     Operating a business                              D   Operating a business
                                                yyyy



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions ; rental income; interest; dividends; money collected from lawsuits; royalties ; and gambling and lottery
     winnings . If you are filing a joint case and you have income thai you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     IZI   No
     D     Yes . Fill in the details.



                                                                  Sources of income              Gross income from         Sources of income            Gross income from
                                                                  Describe below.                each source               Describe below.              each source
                                                                                                 (before deductions and                                 (before deductions and
                                                                                                 exclusions)                                            exclusions)



             From January 1 of current year until                                               $_____ ___ - - -- - - - - - - $_ _ _ _ _ __
             the date you filed for bankruptcy:
                                                                                                $________                 - - - - - - - - - - $_ _ _ _ _ _ __
                                                                                                $________ - - - - - - - - - - $_ __ _ _ __


             For last calendar year:                                                            $_ _ _ _ _ _ _                                         $_ _ _ _ _ _ __
             (January 1 to December 31 , _ _ _ )                                                $ _ _ _ _ _ _ __                                       $ _ _ __ __ __
                                                yyyy
                                                                                                $ _ _ _ _ _ _ __                                       $_ _ _ _ _ _ __


             For the calendar year before that:                                                 $ _ _ _ _ _ _ __                                       $_ _ _ _ _ _ __
             (January 1 to December 31 , ·_ _ _ )                                               $_ _ _ _ _ _ __                                        $_ _ _ _ _ _ __
                                                yyyy
                                                                                                                                                       $_ _ _ _ _ _ __
                                                                                                $~--------


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 2
            Case 19-50210                         Doc 1           Filed 02/20/19           Entered 02/20/19 16:12:57                  Page 38 of 62
Debtor 1        Charles N. Edwards                                                                         Case number (if known)_ _ _ _ _ _ _ _ _ _ __    _ _ __
               First Name           Middle Name               Last Name




              List Certain Payments You Mc.de li:lefore You                        fil~d   for Bankruptcy



 6. Are either Debtor 1 's or Debtor 2's cJebts primarily consumer debts?

     D     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal , family, or household purpose ."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               D    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also , do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01 /19 and every 3 years after that for cases filed on or after the date of adjustment.

     Q     Yes. Debtor 1 or Debtor 2 or both have primarily con;;umer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                Q    No. Go to line 7.

                D    Yes. List below each creditor lo whom you paid a total of $GOO or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also , do not include payments to a'1 attorney for this bankruptcy case.


                                                                              Dc.tes of      Total amount paid       Amount you still owe    Was this payment for ...
                                                                              payment


                                                                                             $_ _ _ _ _ _ __
                                                                                                                                              D Mortgage
                       Credit0r's Name
                                                                                                                                              Dear

                       Number       Street                                                                                                    D Credit card

                                                                                                                                              D Loan repayment

                                                                                                                                              D Suppliers or vendors

                       City
                                                                                                                                              D Other _ __ __
                                                  State            ZIP Code




                                                                                             $_ _ _ _ _ __          $_ _ _ _ _ __
                                                                                                                                              D Mortgage
                       Creditor's   ~lame

                                                                                                                                              Dear

                       Number       Street                                                                                                    D Credit card

                                                                                                                                              D Loan repayment

                                                                                                                                              D Suppliers or vendors
                                                                                                                                              D Other _ _ _ __
                       City                       State            ZIP Code




                                                                                             $_ _ _ _ _ _ __ $_ _ _ _ _ _ __
                       Cre ditor's Nani e
                                                                                                                                              D   Mortgage
                                                                                                                                              D Car

                       Number       Street                                                                                                    D .Credit card

                                                                                                                                              D Loan repayment

                                                                                                                                              D Suppliers or vendors
                                                                                                                                              D Other _ _ _ __
                       City                       State            ZIP Code




                  ----·----------------··---·-
Official Form 107                                         Statement of Finar;cial Affairs for Individuals Filing for Bankruptcy                           page 3
             Case 19-50210                          Doc 1        Filed 02/20/19        Entered 02/20/19 16:12:57                      Page 39 of 62
Debtor 1             Charles N. Edwards                                                                   Case number cn .:mownJ_ _ _ _ _ _ _ _ _ _ __ __ _ __
                     First Name       Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives ; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting se curities ; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101 . Include payments for domestic support obligations,
    such as child support and alimony.

     0      No
     0      Yes. List all payments to an insider.
                                                                            Dates of      Total amount      Amount you still   Reason for this payment
                                                                            payment       paid              owe


                                                                                         $ _ _ _ __        $ _ _ _ __
             Insider's Name



             Number          Street




              City                                   State   ZIP Code


                                                                                         $ _ _ _ __        $_ _ _ _ __
              Insider's Name


              Number         Street




              City                                   State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

      IZI   No
      0     Yes. List all payments that benefited an insider.

                                                                           Dates of        Total amount     Amount you still   Reason for this payment
                                                                           payment         paid             owe
                                                                                                                               Include creditor's name

                                                                                         $ _ _ _ _ __ $ _ _ _ __
              Insider's Name



              Number         Street




              City                                   State   ZIP Code



                                                                                         $ ______           $_ _ _ __
              Insider's Name



              Number         Street




              City                                   State   ZIP Code




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
            Case 19-50210                        Doc 1           Filed 02/20/19              Entered 02/20/19 16:12:57                        Page 40 of 62
Debtor 1         Charles N. Edwards                                                                             Case number t;1>nown1_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name         Middle Name            last   N am~




                Identify Legal Actions, Repossessions, and foreciosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases , small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     0     No
     [I Yes. Fill in the details.
                                                                    Nature of the case                    Court or agency                              Status of the case
                                                                  Collections and Foreclosure
                                                                                                         JD Stamford
            Case title SLS v. Edwards, Wells Fargo                                                                                                     [I Pending
                                                                                                         Court Name

            v. Edwards
                                                                                                                                                       D   On appeal
                                                                                                         123 Hoyt Street
                                                                                                         Number    Street                              D   Concluded

            Case number _C_V
                           _ _ _ _ __ _ __                                                               Greenwich               CT      06830
                                                                                                         City                    State   ZIP Code




            Case title _ _ _ _ _ _ _ _ _ _ __                                                            Court Name
                                                                                                                                                       0   Pending
                                                                                                                                                       D   On appeal

                                                                                                         Number    Street                              0   Concluded

            Case number
                                                                                                         City                    State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      (!) No. Go to line 11 .
      0    Yes. Fill in the information below.

                                                                              Describe the property                                       Date       Value of the property



                                                                                                                                                     $_ _ _ _ _ __
                 Creditor's Name



                 Number      Street                                           Explain what happened

                                                                               0   Property was repossessed .
                                                                               0   Property was foreclosed.
                                                                               0   Property was garnished.
                 City                             State   ZIP Code             0   Property was attached ~ seized, or levied .

                                                                              DE:scrille tt1e property
                                                                                                                                   ------·----· --·- ......
                                                                                                                                          Date        Value of the
                                                                                                                                                                     __   ,

                                                                                                                                                                     propert~




                                                                                                                                                      $_ _ _ _ __
                 Creditor's Name



                 Number      Street
                                                                               Explain what happened

                                                                               0 · Property was repossessed :
                                                                               0 Property was foreclosed .
                                                                               0 Property was garni:ihed .
                 City                             State   ZIP Code
                                                                               D Property was attached , seized, or levied .


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
             Case 19-50210                       Doc 1          Filed 02/20/19                   Entered 02/20/19 16:12:57                           Page 41 of 62
Debtor 1          Charles N. Edwards                                                                             Case number   (if known),_   _ __   _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Midd le Name            l ast Na. ne




 11 . Within 90 days before you filed for bankruptcy, did any crt!ditcr, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

     0     No
     D     Yes . Fill in the details.

                                                                         Describe the action the creditor took                                 Date action       Amount
                                                                                                                                               was taken
           Creditor's Name


                                                                                                                                                                $ _ _ _ _ _ _ __
           Number      Street




           City                            State   ZIP Code          Last 4 digits of account number: XXXX-_ _ _ _


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian , or another official?
     [!) No
     D     Yes


i§fj              List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      0    No
      D    Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600               Describe the gifts                                                        Dates you gave       Value
            per person                                                                                                                         the gifts



                                                                                                                                                                  $_ _ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                                  $_ _ _ _ __
            Number Street




           City                            State   ZIP Code


           Person's relationshi p to you


           Gifts w ith a total value of more than $600                   Describe the gifts                                                    Dates you gave      Value
           per person                                                                                                                          the gifts


                                                                                                                                                                   $_ _ __ __
           Person to W hom You Gave th e Gift


                                                                                                                                                                   $ _ _ _ _ __
            Number Street




           City                            State   ZIP Code


           Person's relationship to you - - - - - -


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 6
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Debtor 1             Charles N. Edwards                                                                             Case number (if known )_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name      Middle Name            Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     0      No
     0      Yes. Fill in the details for each gift or contribution .

             Gifts or contributions to charities                   Describe what you contributed                                             Date you            Value
             that total more than $600                                                                                                       contributed



                                                                                                                                                                 $_ _ _ _ _ _
            Charity's Name


                                                                                                                                                                 $_ _ _ __ _
            Number Street




            City             State     ZIP Code




f§fl                  List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

      IZI   No
      0     Yes. Fill in the details.

             Describe the property you lost and how                     Describe any insurance coverage for the ioss                         Date of your loss   Value of property
             the loss occurred                                                                                                                                   lost
                                                                        Include the amount that insurance has paid. LiGt pending insurance
                                                                        claim s on line 33 of Schedule A/B: Property.


                                                                                                                                                                  $_ _ _ _ __




                   List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      D No
      IZI   Yes. Fill in the details .

                                                                        Description an<i value of any property transferred                   Date payment or     Amount of payment
              Law Offices of Mark M. Kratter, LLC                                                                                            transfer was made
              Person Who Was Paid

              71 East Avenue , Suite K
              Number        Street                                                                                                            02/18/18           $_ __ _ __


                                                                                                                                                                 $ _ _ _ _ __
               Norwalk                     CT       06851
              City                         State    ZIP Code



              Email or website address


              Person W ho Made the Payment, if Not Yo u



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1            Charles N. Edwards                                                                            Case number (ff known )_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name       Middld Name               Lost Name




                                                                       Description and va:us ·of any property transferred               Date payment or        Amount of
                                                                                                                                        transfer was made      payment


            Person Who Was Paid
                                                                                                                                                               $_ _ _ __ _
            Number         Street
                                                                                                                                                               $_ _ _ _ __



            City                          State     ZIP Code




            Email or website address


            Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     0 No
     D     Yes. Fill in the details.

                                                                       Description and value of any property transferred                 Date payment or   Amount of payment
                                                                                                                                         transfer was made

             Person Who Was Paid
                                                                                                                                                               $_ _ _ __
             Number         Street

                                                                                                                                                               $_ _ _ _ _


             City                          State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property) .
      Do not include gifts and transfers that you have already listed on this statement.
      0 No
      D    Yes. Fill in the details.

                                                                           Description and value of property      Describe any property or payments received     Date transfer
                                                                           transferred                            or debts paid in exchange                      was made

            Person Who Received Transfer



            Number         Street




            City                           State    ZIP Code


            Person's relationship to y o u - - - - - -



            Person W ho Received Transfer



            Number         Street




            City                           State    ZIP Code

            Person's relationship to you _ _ _ _ __

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
            Case 19-50210                         Doc 1        Filed 02/20/19                    Entered 02/20/19 16:12:57                            Page 44 of 62
Debtor 1            Charles N. Edwards                                                                               Case number (it known)._ __ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name           last t-:arne




 19. Within 10 years before you filed for bankruptcy, did you transfer any                          ~rcpurty   to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices .)

     0     No
     D     Yes. Fill in the details.

                                                                     Description and value of the property transferred                                                Date transfer
                                                                                                                                                                      was made




                List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
     Include checking , savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     CEJ No
     Q Yes.         Fill in the details.

                                                                         Last 4 digits   of account number      Type of account or          Date account was       Last balance before
                                                                                                                instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                            or transferred


            Name of Financial Institution
                                                                         XXXX-_ _ _                             Q   Checking                                       $ _ _ _ __

            Number         Street
                                                                                                                Q   Savings

                                                                                                                Q   Money market

                                                                                                                Q   Brokerage
            City                         State     ZIP Code                                                     a   other_ _ __



                                                                         XXXX-_ _ _                             Q   Checking                                       $_ _ _ __
            Name of Financial Institution
                                                                                                                Q   Savings

             Number        Street                                                                               Q Money market
                                                                                                                Q   Brokerage

                                                                                                                a   other_ _ __
             City                        State     ZIP Code

  21 . Do you now have, or did you have within 1 year before yo·u fiied for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     IEJ   No
     Q     Yes. Fill in the details.
                                                                         WhCI else had access to it?                          Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                          Q    No
             Name of Financial Institution                           Name
                                                                                                                                                                          Q    Yes


             Number        Street                                    Number       Street



                                                                     City           State       ZIP Code
             City                        State     ZIP Code


Official Form 107                                    Statement of Financial Jl.f fairs for Individuals Filing for Bankruptcy                                             page 9
               Case 19-50210                        Doc 1          Filed 02/20/19                     Entered 02/20/19 16:12:57                           Page 45 of 62
Debtor 1              Charles N. Edwards                                                                                     Case number (d known). _ __ _ _ _ _ _ __ _ __ _ _ __
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other th'!n your home within 1 year before you filed for bankruptcy?
      l:zl   No
      Q      Yes. Fill in the details.
                                                                        Who else has or had access to it?                        Describe the contents                    Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                          0No
               Name of Storage Facility                                 Name                                                                                               aves
               Number        Street                                     Number    Street



                                                                        City State ZIP Code

               City                        State     ZIP Code



                        Identify Property You Hold or Cont.r ol for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from , are storing for,
       or hold in trust for someone.
       C!J    No
       Q      Yes. Fill in the details.
                                                                       Where is the property?                                     Describe the property               Value


               Owner's Name                                                                                                                                           $_ _ __

                                                                      Number     Street
               Number        Street




                                                                      City                             State      ZIP Code
               City                        State     ZIP Code

                         Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
        it or used to own, operate, or utilize it, including disposal sites.

  •     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, or s imilar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

        C!J   No
        Q Yes. Fill in the details.
                                                                        Governmental unit                             Environmental law, if you know it              Date of notice



              Name of site                                             Governmental unit


              Number        Street                                     Number    Street


                                                                       City                   State   ZIP Cocle



              City                        State     ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 10
            Case 19-50210                         Doc 1       Filed 02/20/19                      Entered 02/20/19 16:12:57                              Page 46 of 62
Debtor 1            Charles N. Edwards                                                                                   Case number (ifimown )_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Nama




 25. Have you notified any governmental unit of any release o f hazardous materic.I?

     l:J   No
     [J    Yes. Fill in the details.
                                                                 Governmental unit                                   Environmental law, if you know it                    Date of notice




            Name of s ite                                       Governmental unit


            Number        Street                                Number       Street



                                                                City _                  State     ZIP Code


            City                         State     ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     []No
     [J    Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                      Court or agency                                     Nature of the case
                                                                                                                                                                           case

           Case title _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                           [J   Pending
                                                                      Court Name
                                                                                                                                                                           [J   On appeal

                                                                      Number   Street                                                                                      [J   Concluded


           Case number
                                                                      City                      . State   ZIP Code



                      Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           [J   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           [J   A member of a limited liability company (LLC) or limited liability partnership (LLP)
           [J   A partner in a partnership
           [J   An officer, director, or managing executive of a corporation
           [J An owner of at least 5% of the voting or equity securities of a corporation
      ~ No. None of the above applies. Go to Part 12.
      [J   Yes. Check all that apply above and fill in the details below for each business.
                                                                      Describe the nature of the business                                Employer Identification number
                                                                                                                                         Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                         EIN:
             Number        Street
                                                                      Name of accountant or bookkeeper                                   Dates business existed


                                                                                                                                         From                To _ __
             City                         State    ZIP Code

                                                                      Describe the natur e of the business                               Employer Identification number
                                                                                                                                         Do not include Social Security number or ITIN.
             Business Name


                                                                                                                                         EIN:
             Number        Street
                                                                      Name of accountant or bookkeeper                                   Dates business existed



                                                                                                                                         From                To _ __
             City                         State    ZIP Code                                                                                                                                 _ _j

Official Form 107                                     Statement of Finahcial Affairs for Individuals Filing for Bankruptcy                                                      page 11
               Case 19-50210                         Doc 1       Filed 02/20/19           Entered 02/20/19 16:12:57                    Page 47 of 62
Debtor 1              Charles N. Edwards                                                                    Case number (if known )_ _ _ _ _ _ _ _ _ _ _ _ _ __ __
                      First Name       Middle Name




                                                                                                                         Employer Identification number
                                                                   Describe the nature ci tbe business
                                                                                                                         Do not include Social Security number or ITIN.
               Business Name
                                                                                                                         EIN :

               Number        Street
                                                                   Name of accountant or bookkeeper                      Dates business existed




                                                                                                                         From                To ____
               City                         State     ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     IJI     No
     0     Yes. Fill in the details below.

                                                                   Date issued




               Name                                                MM/DD/YYYY



               Number         Street




               City                          State    ZIP Code




                       Sign Below


       I have read the answers on this St;;tement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                                                      ___,
                                                                      _




         x~k~~ Signature of Debtor 1                                                Signature of Debtor 2


               Date _ _ _ _ _ __                                                    Date _ _ _ _ _ __

         Did you attach additional pages to Your Statemeni of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

         121    No
         D      Yes



         Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
         121   No
                         Name of person _____________ _______________                                             Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 12
                 Case 19-50210                      Doc 1            Filed 02/20/19 Entered 02/20/19 16:12:57                                 Page 48 of 62
                                                                           -       ' .. ,.
Fill in this information to identify your case:                                              .              '

Debtor 1           Charles N. Edwards
                    First Name                       Middle Name

Debtor 2
(Spouse, if filing) First Name                       Middle Name                 Last Name


United States Ban kruptcy Court for th e:                          District Of Connecticut

Case number                                                                                                                                              0    Check if this is an
 (If known)                                                                                                                                                   amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or .
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form .
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

                     List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 1060), fill in the
       information below.

              Identify the creditor and the property that is collateral                            What do you intend to do with the property that   Did you claim the property
                                                                                                   secures a debt?                                   as exempt on Schedule C?

           Creditor's
           name:                  S L..S                                                          D Surrender the property.
                                                                                                  0   Retain the property and redeem it.
                                                                                                                                                     (ii No
                                                                                                                                                     DYes
          Description of
          property
          securing debt:
                                 <v .) r\ )   1·
                                                   -<...
                                                                                                  D Retain the property and enter into a
                                                                                                    Reaffirmation Agreement.
                                                                                                  D Retain the property and [explain] : _ _ __



          Creditor's                                                                              D Surrender the property.                          DNo
          name:
                                                                                                  D Retain the property and redeem it.               DYes
          Description of
          property                                                                                D Retain the property and enter into a
          securing debt:                                                                            Reaffirmation Agreement.
                                                                                                  D Retain the property and [explain] : _ _ __



          Creditor's                                                                             . D Surrender the property.                         0   No
          name:
                                                                                                  D Retain the property and redeem it.               DYes
          Description of
          property                                                                                D Retain the property and enter into a
          securing debt:                                                                            Reaffirmation Agreement.
                                                                                                  D Retain the property and [explain] : _ _ _ __

                                                                                                                                                --------------~-                    .
           Creditor's                                                                             D Surrender the property.                          DNo
           name:
                                                                                                  D Retain the property and redeem it.               DYes
          Description of
          property                                                                                D Retain the property and enter into a
          securing debt:                                                                            Reaffirmation Agreement.
                                                                                                  0   Retain the property and [explain] : _ _ __



   Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
             Case 19-50210                        Doc 1       Filed 02/20/19                Entered 02/20/19 16:12:57                                           Page 49 of 62
Your name        Charles N. Edwards                                                                                                   Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name          Middle Name           Last Name




                 List Your Unexpired Personal Property l.:a.:: 1'.! ~

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leasas that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease jf the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                                                    Will the lease be assumed?

        Lessor's name:                                                                                                                                      DNo
                                 Nissan
                                                                                                                                                            0Yes
        Description of leased
        property:
                  Automobile Lease

        Lessor's name:                                                                                                                                      D   No
                                                                                                                                                            Dves
        Description of leased
        property:


        Lessor's name:                                                                                                                                      D   No

        Description of leased                                                                                                                               DYes
        property:


        Lessor's name:                                                                                                                                      D   No
                                                                                                                                                            Dves
        Description of leased
        property:


        Lessor's name:                                                                                                                                      D   No
                                                                                                                                                            DYes
        Description of ieased
        property:


        Lessor's name:                                                                                                                                      ONo
                                                                                                                                                            0Yes
        Description of leased
        property:


        Lessor's name:                                                                                                                                      0   No
                                                                                                                                                            DYes
        Description of leased
        property:




f   §fF             Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



    X   _CJLM~~k:J1 tk~~
        Signature of Debtor 1           \.....                           Signature of Debtor 2


        Date~-~-----                                                     Date
                                                                                ...,-M-c-M
                                                                                         .,.-1,...-,,D"'D- /,.......,Y
                                                                                                                     -,-,-,,..,.---
                                                                                                                      YYY
             MM I    DD      I   YYYY




  Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                                          page 2
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B2030 (Form 2030) (12/ 15)




                                 United States ~Bankruptcy Court
                                              DISTRICT OF CONNECTICUT



In re
             Charles N. Edwards
                                                                            Case No. _ _ _ __ _ __ _

Debtor                                                                      Chapter _7_ _ _ __ _ __ _

                      DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to I I U .S. C. § 3 29( a) and Fed. Bankr. P. 20 l 6(b ), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept ......... ... . .... . .... ... . . ... $ 1,650.00

     Prior to the filing of this statement I have received ........ . ............... "' _ ,...

     Balance Due ................ .. . .. ...... . . . . . .... .. . . ... ... .... .. . .

2.   The source of the compensation paid to me was:

             00 Debtor                  D   Other (specify)

3.   The source of compensation to be paid to me is:

             D Debtor                   D Other (specify)
4.           lKJI have not agreed to share the above-disclosed compensation with any other person unless they are
             members and associates of my law firm.

             D  I have agreed to share the above-disclosed compensation with a other person or persons who are not
             members or associates of my law firm . A copy of the agreement, together with a list of the names of the
             people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
             file a petition in bankru·plcy;

     b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
             hearings thereof;
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82030 (Form 2030) (12/ 15)



     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services :




                                                      CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           mo fo, "P'~'"''tioo of tho dobtm(•) io thi• b"U =
             '"-.._/l.,, (}       11 9                              ~
           Date               '                      Signature of ilttorn ey

                                                Law Offices of Mark M. Kratter, LLC
                                                     Name of law firm
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 201 O)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

       •      You are an individual filing for bankruptcy,
                                                                           $245     filing fee
              and                                                           $75     administrative fee
                                                                 +          $15     trustee surcharge
       1111   Your debts are primarily consumer debts.
                                                                           $335     total fee
              Consumer debts are defined in 11 U.S.C.
              § 10 l (8) as "incurred by an individual           Chapter 7 is for individuals who have financial
              primarily for a personal, family, or               difficulty preventing them from paying their
              household purpose."                                debts and who are willing to allow their non-
                                                                 exempt property to be: used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repos8ess an automobile.
 •            Chapter 7 -    Liquidation
                                                                 However, if the court finds that you have
 111          Chapter 11- Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
 •            Chapter 12- Voluntary repayment plan
                                                                 may deny your discharge.
                          for family farmers or
                          fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
 •            Chapter 13- Voluntary repayment plan
                                                                 debts are not discharged under the law.
                          for individuals with regular
                          mcome                                  Therefore, you may still be responsible to pay:
                                                                 11   most taxes;
 You should have an attorney review your                         •    most student loam;;
 decision to file for bankruptcy and the choice of
                                                                 •    domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for lndividuals Filing for Bankruptcy (Form 2010)          page 1
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 ill     most fines, penalties, forfeitures, and                your income is more than the median income
         criminal restitution obligations; and                  for your state of residence and family size,
 11      certain debts that are not listed in your              depending on the results of the Means Test, the
         bankruptcy papers.                                     U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                  under§ 707(b) of the Bankruptcy Code. Ifa
 from:                                                          motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
 11'1    fraud or theft;
                                                                you may choose to proceed under another
 11111   fraud or defalcation while acting in breach            chapter of the Bankruptcy Code.
         of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
 111     intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
 111     death or personal injury caused by                      to pay your debts, subject to your right to
         operating a motor vehicle, vessel, or                   exempt the property or a portion of the
         aircraft while intoxicated from alcohol or              proceeds from the sale of the property. The
         drugs.                                                  property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Month!) '                   is sold.
 Income (Official Form 122A-1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A-2).
                                                                          $1, 167   filing fee
 If your income is above the median for your                     +          $550    administrative fee
 state, you must file a second form -the                                  $1,717    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A-2). The calculations on the form-                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test-deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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 Because bankruptcy can have serious iong-tern1 financial and legal consequences, including loss of
 your property, you should hire an ;;ittorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13 , you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money th~t you owe them, usually using your
            $200   filing fee
                                                                 future earnings. If the court approves your
 +           $75   administrative fee
            $275   total fee
                                                                 plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or
 Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
 family farmers and fishermen to repay their                     factors.
 debts over a period of time using future
 earnings and to discharge some debts that are                   After you make all the payments under your
 not paid.                                                       plan, many of your debts are discharged. The
                                                                 debts that are not discharged and that you may
                                                                 still be responsible to pay include:

 Chapter 13: Repayment plan for                                   •     domestic support obligations,
             individuals with regular                             •     most student loans,
             income                                               •     certain taxes,
                                                                  •     debts for fraud or theft,
           $235    filing fee
                                                                  a     debts for fraud or defalcation while acting
 +          $75     administrative fee
                                                                        in a fiduciary capacity,
           $310     total fee
                                                                  fl!   most criminal fines and restitution
 Chapter 13 is for individuals who have regular                         oblig~tions,
 income and would like to pay all or part of                      11    certain debts that are not listed in your
 their debts in installments over a period of time                      bankruptcy papers,
 and to discharge some debts that are not paid.
                                                                  •     certain. debts for acts that caused death or
 You are eligible for chapter 13 only if your
                                                                        personal injury, and
 debts are not more than certain dollar amounts
 set forth in 11 U.S .C. § 109.                                   •     certain long-term secured debts.



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for .Individuals Filing for Bankruptcy (Form 2010)        page 3
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                                                                  A married couple may file a bankruptcy case
                                                                  together-called a joint case. If you file a joint
     Warning: File Your Forms on Time
                                                                  case and each spouse lists the same mailing
     Section 521 (a)(1) of the Bankruptcy Code                    address on the bankrnptcy petition, the
     requires that you promptly file detailed information
                                                                . bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition . The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do             you file a statement with the court asking that
     not file this information within the deadlines set by        each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules , and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/bkforms/bankruptcy form             counseling agencies
     s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S .C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
 •     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury-either orally or                 is usually conducted by telephone or on the
       in writing-in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
 •      All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S . Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from:
                                                                 http://justice.gov/u st/eo/hapcpa/ccde/cc approved. html .
 Make sure the court has your                                    In Alabama and North Carolina, go to:
 mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

 The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

 mailing address you list on Volunta1y P etition                 AndDebtCounselors.aspx.

 for Individuals Filing for Bankruptcy (Official
 F onn 101 ). To ensure that you receive                         If you do not have access to a computer, the
                                                                 clerk of the bankruptcy court may be able to
 information about your case, Bankruptcy
                                                                 help you obtain the list.
  Rule 4002 requires that you notify the court of
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page4
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                                         Attn : Collect i on Agent
                                         8742 Lucent Boulevard
                                         Littleton , CO 80129




                                         American Expr ess
                                         ATTN: Collection Agent
                                         PO Box 1270
                                         Newark , NJ 07101


                                         Ca val r y SPV I , LLC
                                         Attn : Member
                                         PO Box 27288
                                         Tempe , AZ 85285-7288


                                         Citi Cards
                                         ATTN : Collection Agent
                                         P . O . Box 9001037
                                         Louisville , KY 4029 0-10 37


                                         Midland Funding
                                         ATTN : Collection Agent
                                         2365 Nort h s i de Dr Ste 30
                                         San Diego , CA 92108


                                         The Manha ttan Club
                                         Attn: Collection Age nt
                                         112 North Courtland Street
                                         East Shr oudsbe rg, PA 18301


                                         Vacation Club
                                         Attn : Collection Agent
                                         P . O . Box 150
                                         Sco tt sdale , AZ 95252
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                                   UNITED        STAT ~S      BANKRUPTCY COURT
                                             DISTRICT OF CONNECTICUT


In re                                                                         Chapter 7

        Charles N. Edwards                                                    Case No.

                                  Debtors.



                              STATEMENT OF MONTHLY GROSS INCOME
The undersigned certifies the following is the debtor's monthly income.


Income:                                      Debtor                                             Spouse

    Six months ago                           $    6,576.00                                      $   0.00

    Five months ago                          $    6,576.00                                      $   0.00

    Four months ago                          $    6,576.00                                      $   0.00

    Three months ago                         $    6,576.00                                      $   2,000.00

    Two months ago                           $    6,576.00                                      $   0.00

    Last month                               $    6,576.00                                      $   0.00

    Total Gross income for si x
    months preceding fil ing                 $    39,456.00                                     $   2,000.00

    Average Monthly Gross
    Income                                   $    6,576.00                                      $   333.33




                                                                          QJw (&\It.f!~Ji{
                                                                          ·      "   Charles N. Edwards
                                                                                           Debtor
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                                                  UNITED STATES BANKRUPTCY COURT
                                                               District of Connecticut


                                     STATEMENT OF INFORMATION REQUIRED BY 11U.S.C.B341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

            The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules . A discharge is a court oraer that.says that.y6u.·cio not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for examp!e, most taxes , child support, alimony, and student loans; court-ordered fines and
restitution ; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you , for example, destroy or conceal property; ·destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future . Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particu:ar debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation a;ireement, you may cancel it at any time
before the court issues an order of discharge or within sixty (.60) ciays after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In additicn, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
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            You have a choice in deciding what chap te' of the Bar,krupl;;y Code wi!I be!it suit your needs.
!:Oven if you have already filed for relief under chapte r ?, y0u n ;c:y· b:; 2!ig:b:e to cor,vert your case to a different
chapter.
            Chapter 7 is the liquidation chapter of the Bankru ptc/ C.:ide. :Jnder ch apter 7, a trustee is
appointed to collect and sell, if economically feasible, all oroperty yc1.1 :Jw;1 that i;; not exempt from these
actions.
            Chapter 11 is the reorganization chapter most commonly used by tusinesses, but it is also
available to individuals. Creditors vote on whether to accept or reje-:t a plan , which also must be appraved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business .
            Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming·
operations during the pendency of the plan .
            Finally, chapter 13 generally permits individuals to keep their property by repaying cred itors
out of their future income. Each chapter 13 debtor writes a plan wh ich must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount $el forth in their plan . Debtors receive a
discharge after they complete their chapter 13 repayment plan . Chapter 13 is only available lo individuals with
regular income whose debts do not exceed $1 ,000 ,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN , PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION , INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.




                                                                          2
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                                                  UNITED STATES BANKRUPTCY COURT
                                                             District of Connecticut


          Charles N. Edwards
In re :

                                               Debtors
                                                                                                      Chapter    _7_________


                                      VERIFICATION OF CREDITOR MATRIX
               The above named debtor(s), or debtoris attorney if applicable, do hereby certify under penalty of perjury that the
          attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
          Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




          Dated:




          Dated:                                                               Signed :
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                                 WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to pro-.; ide with a petition and thereafter during a case under title 11
("Bankruptcy") of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.

               Current monthly income, the amounts specified in section 707(b )(2), and , in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11 . Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


   Date       ~       ) ')__O    J J<J                   C1ui1,;j. c;4~1It
                                                            Charles N. Edwards
                                                            Debtor




                                                            Joint D.ebtor ~

                                                               '     '   ~ ~-----

                                                            !Ylark M. Kratter
                                                            Attorney for Debtor(s)
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                      IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                   SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

           If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before _you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need . Although bankruptcy can be complex, many cases are routine.


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you . Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.
                                                          ·'
            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.



 Date   ~}:l__o 1J9                                    ~ . 9i1m+,t;
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                                                                       '- -'_ __
                                                          Charles N. Edwards
                                                        · Debtor




                                                          Joint De~



                                                          Mark M. Kratter
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
